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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


STEPHANIE LUKIS, MANTAS
NORVAISAS, and SHAWN BROWN,
individually and on behalf of all others
similarly situated,

               Plaintiffs,                           No. 1:19-cv-04871

v.                                                   Judge Gary Feinerman

                                                     Mag. Judge Jeffrey Gilbert
WHITEPAGES, INC.,

               Defendant.


                DEFENDANT WHITEPAGES, INC.’S NOTICE OF APPEAL

         Notice is hereby given that defendant Whitepages, Inc. appeals pursuant to 9 U.S.C.

§§ 16(a)(1)(A) and (B) to the United States Court of Appeals for the Seventh Circuit from the

District Court’s Memorandum Opinion and Order dated April 23, 2021 (Docket Entry 175), which

denied Whitepages, Inc.’s Motion to Dismiss or Transfer Based on Arbitrability (“Motion to

Compel Arbitration.”)




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Dated: May 4, 2021                                 Respectfully submitted,

                                                   WHITEPAGES, INC.


                                                   By:    /s/ Blaine C. Kimrey
                                                         One of its attorneys
Blaine C. Kimrey – bkimrey@vedderprice.com
Bryan K. Clark – bclark@vedderprice.com
Jonathon P. Reinisch – jreinisch@vedderprice.com
Vedder Price P.C.
222 North LaSalle Street
Chicago, Illinois 60601
(312) 609-7500




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2021, a copy of the foregoing was electronically filed in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

electronic filing system.



                                                 /s/ Blaine C. Kimrey
                                                 Blaine C. Kimrey




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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 STEPHANIE LUKIS, individually and on behalf of all              )
 others similarly situated,                                      )
                                                                 )   19 C 4871
                                            Plaintiffs,          )
                                                                 )   Judge Gary Feinerman
                             vs.                                 )
                                                                 )
 WHITEPAGES INCORPORATED,                                        )
                                                                 )
                                           Defendant.            )

                              MEMORANDUM OPINION AND ORDER

       Stephanie Lukis brought this putative class action against Whitepages Inc. in the Circuit

Court of Cook County, alleging violations of the Illinois Right of Publicity Act (“IRPA”), 765

ILCS 1075/1 et seq. Doc. 1-1. Whitepages removed the suit under the diversity jurisdiction.

Doc. 1. The court has denied Whitepages’s motion to dismiss for failure to state a claim and lack

of personal jurisdiction, Docs. 36-37 (reported at 454 F. Supp. 3d 746 (N.D. Ill. 2020)), and its

motions for reconsideration, leave to appeal, and summary judgment, Docs. 87-88 (reported at

2020 WL 6287369 (N.D. Ill. Oct. 27, 2020)).

       Six fully briefed motions are before the court. First, Whitepages moves to dismiss the

suit—though, properly styled, the motion is to compel arbitration and stay the suit, see Halim v.

Great Gatsby’s Auction Gallery, Inc., 516 F.3d 557, 561 (7th Cir. 2008) (“As this Court has

noted on numerous occasions, the proper course of action when a party seeks to invoke an

arbitration clause is to stay the proceedings rather than to dismiss outright.”) (internal quotation

marks omitted)—or transfer it to the Western District of Washington based on an arbitration

provision and forum selection clause in the terms of use on the Whitepages website. Doc. 89.

Second, Lukis moves to amend her complaint to add two new putative class representatives.



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Doc. 97. Third, Whitepages moves to strike the complaint’s class allegations and Lukis’s

attorneys as putative class counsel. Doc. 119. The other three motions relate to discovery: Each

side moves to compel discovery from the other side, Doc. 127, 136, and Lukis moves to extend

the fact discovery deadline, Doc. 128.

       Whitepages’s motion to compel arbitration or transfer the suit is denied. Lukis’s motion

to amend the complaint is granted. Whitepages’s motion to strike is denied, though it may renew

its arguments in opposition to Lukis’s recently filed class certification motion. Doc. 162.

Lukis’s motion to compel is granted, Whitepages’s motion to compel is granted in part and

denied in part, and Lukis’s motion to extend fact discovery is granted.

                                          Background

       The court assumes familiarity with its prior opinions and reviews the facts, which for

purposes of the pending motions are undisputed, only briefly. Whitepages operates a website

that sells background reports on people. Doc. 76 at ¶¶ 1, 6. Searching the website for a person’s

name reveals free information tied to that name. Id. at ¶ 4. Whitepages also offers more detailed

reports for a fee, which it promotes by inviting users to purchase them when viewing a free

preview. Id. at ¶ 5; Doc. 80 at ¶¶ 20, 29. The complaint alleges that Whitepages violated the

IRPA by using Lukis’s identity to promote Whitepages’s services. Doc. 1-1 at ¶¶ 38-44; see 765

ILCS 1075/30(a) (“A person may not use an individual’s identity for commercial purposes

during the individual’s lifetime without having obtained previous written consent … .”); id.

§ 1075/5 (defining “commercial purpose” to include “advertising or promoting products,

merchandise, goods, or services”).




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                                             Discussion

I.       Whitepages’s Motion to Compel Arbitration or Transfer the Suit

         Whitepages premises its motion to compel arbitration or transfer the suit on certain

dispute resolution provisions set forth in the terms of use on its website. Doc. 90 at 7-8; Doc. 90-

1 at 14, § 12.10.

         A.     Motion to Compel Arbitration

         The dispute resolution provisions include an arbitration clause, which states in relevant

part: “ANY DISPUTE, CLAIM OR CONTROVERSY BETWEEN YOU AND WHITEPAGES

RELATING IN ANY WAY TO THIS AGREEMENT OR YOUR ACCESS TO OR USE OF

THE SERVICES OR CONTENT … WILL BE RESOLVED BY BINDING ARBITRATION IF

IT CANNOT BE RESOLVED THROUGH NEGOTIATION … .” Doc. 90-1 at 14, § 12.10.

         Section 2 of the Federal Arbitration Act (“FAA”) states:

          A written provision in any … contract evidencing a transaction involving
          commerce to settle by arbitration a controversy thereafter arising out of such
          contract or transaction … shall be valid, irrevocable, and enforceable, save
          upon such grounds as exist at law or in equity for the revocation of any
          contract.

9 U.S.C. § 2. Section 2 “mandates enforcement of valid, written arbitration agreements,” Tinder

v. Pinkerton Sec., 305 F.3d 728, 733 (7th Cir. 2002), and “embodies both a liberal federal policy

favoring arbitration and the fundamental principle that arbitration is a matter of contract,” Gore

v. Alltel Commc’ns, LLC, 666 F.3d 1027, 1032 (7th Cir. 2012) (quotation marks omitted). That

said, “because arbitration is a matter of contract, ‘a party cannot be required to submit to

arbitration any dispute which he has not agreed so to submit.’” Ibid. (quoting Howsam v. Dean

Witter Reynolds, Inc., 537 U.S. 79, 83 (2002)). Accordingly, “[u]nder the FAA, arbitration

should be compelled if three elements are present: (1) an enforceable written agreement to




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arbitrate, (2) a dispute within the scope of the arbitration agreement, and (3) a refusal to

arbitrate.” Scheurer v. Fromm Family Foods LLC, 863 F.3d 748, 752 (7th Cir. 2017).

       Whitepages stakes its motion to compel arbitration on § 4 of the FAA, which provides

that “[a] party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a

written agreement for arbitration may petition … for an order directing that such arbitration

proceed in the manner provided for in such agreement.” 9 U.S.C. § 4; see Doc. 89 at 1.

Whitepages presents one ground for finding that Lukis assented to its website’s terms of use: On

July 21, 2020, acting as her agent, Lukis’s counsel—Roberto Costales of Beaumont Costales

LLC—purchased a Whitepages product and clicked through the terms. Doc. 90 at 10, 14-16.

With online contracts, the law distinguishes “‘clickwrap’ (or ‘click-through’) agreements, which

require users to click an ‘I agree’ box,” from “‘browsewrap’ agreements, which generally post

terms and conditions on a website via a hyperlink at the bottom of the screen.” Meyer v. Uber

Techs., Inc., 868 F.3d 66, 75 (2d Cir. 2017); see also Van Tassell v. United Mktg. Grp., LLC, 795

F. Supp. 2d 770, 790 (N.D. Ill. 2011) (“The two most common types of agreements are

‘clickwrap’ agreements and ‘browsewrap’ agreements. With clickwrap agreements, the webpage

user manifests assent to the terms of a contract by clicking an ‘accept’ button in order to

proceed.”). Whitepages’s initial brief states that its motion to compel “concerns only [Lukis’s]

acceptance of Whitepages’ clickwrap terms” via Costales. Doc. 90 at 14.

       Lukis does not dispute that Costales agreed to the website’s terms of use or that he bound

her as her agent. Nor does she challenge Whitepages’s dubious premise that Costales’s use of

the website a year into the litigation to better understand how it works and thereby to better

represent her—and, if class certification is granted, the class—subjects her IRPA claims, which

of course arose before litigation commenced, to arbitration. Lukis argues only that Whitepages




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waived its right to enforce the arbitration clause by waiting too long to bring its motion.

Doc. 103 at 1-4. That argument is correct.

       In general, “like any other contractual right, the right to arbitrate can be waived.” Smith

v. GC Servs. L.P., 907 F.3d 495, 499 (7th Cir. 2018); see also Auto. Mechs. Loc. 701 Welfare &

Pension Funds v. Vanguard Car Rental USA, Inc., 502 F.3d 740, 746 (7th Cir. 2007) (“[T]he

choice of an arbitral forum can be waived early in the proceedings, and generally is waived once

the party who later wants arbitration chooses a judicial forum.”). “A waiver can be express or

implied through action. Either way, the question is whether ‘based on all the circumstances, the

party against whom the waiver is to be enforced has acted inconsistently with the right to

arbitrate.’” Brickstructures, Inc. v. Coaster Dynamix, Inc., 952 F.3d 887, 891 (7th Cir. 2020)

(citation omitted) (quoting Welborn Clinic v. MedQuist, Inc., 301 F.3d 634, 637 (7th Cir. 2002)).

               1.      Threshold Question

       Normally, “the question of whether the parties agreed to arbitrate is to be decided by the

court, not the arbitrator.” AT & T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649

(1986). But “parties can agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether

the parties have agreed to arbitrate or whether their agreement covers a particular controversy.”

Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 68-69 (2010). If they so agree, “an arbitrator,

rather than a court, will resolve threshold arbitrability questions as well as underlying merits

disputes.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 527 (2019).

       The arbitration provision in Whitepages’s terms of use delegates arbitrability questions to

the arbitrator, stating: “THE ARBITRATOR WILL DECIDE ALL THRESHOLD

QUESTIONS.” Doc. 90-1 at 14, § 12.10. Whitepages argues that the issue of whether it waived

its right to enforce the arbitration agreement is such a “threshold question” that must be

submitted to the arbitrator. Doc. 132 at 5-8. Whitepages is incorrect. The question whether


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Whitepages waived arbitration through litigation conduct or delay is not a gateway or threshold

question of arbitrability under governing precedent. Rather, waiver through litigation conduct or

delay is necessarily an issue for a court to decide.

       For starters, the FAA says so. Section 3 commands courts to stay cases referred to

arbitration, “providing the applicant for the stay is not in default in proceeding with such

arbitration.” 9 U.S.C. § 3. According to the Seventh Circuit, § 3 “expressly gives the courts

jurisdiction to determine the existence of a default,” which the court referred to as “waiver by

judicial participation.” Halcon Int’l, Inc. v. Monsanto Austl. Ltd., 446 F.2d 156, 161 (7th Cir.

1971); see also St. Mary’s Med. Ctr. of Evansville, Inc. v. Disco Aluminum Prods. Co., 969 F.2d

585, 588 (7th Cir. 1992) (“The essential question is whether, based on the circumstances, the

alleged defaulting party has acted inconsistently with the right to arbitrate.”). Other circuits

agree that § 3 directs courts to address questions of waiver through litigation conduct. See Marie

v. Allied Home Mortg. Corp., 402 F.3d 1, 13 (1st Cir. 2005) (“A ‘default’ has generally been

viewed by courts as including a ‘waiver.’”); Glass v. Kidder Peabody & Co., 114 F.3d 446, 455

n.62 (4th Cir. 1997) (stating that a “section 3 default” arises “when a party seeking arbitration

has substantially utilized the litigation machinery before pursuing arbitration”) (quotation marks

and alteration omitted); Morewitz v. W. of Eng. Ship Owners Mut. Prot. & Indem. Ass’n (Lux.),

62 F.3d 1356, 1365 n.16 (11th Cir. 1995) (“Although the [FAA] uses the term ‘default,’ 9 U.S.C.

§ 3, the case law on this subject employs the term ‘waiver.’”). Whitepages seeks to compel

arbitration under § 4, not § 3, but the two provisions are interpreted in tandem. See Marie, 402

F.3d at 13 (holding that the “default” language in § 3 also applies to motions under § 4);

Morewitz, 62 F.3d at 1365-66 & n.16 (relying on § 3 in holding that a motion to compel

arbitration was waived through litigation conduct).




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       Even setting aside § 3, a court’s authority to address waiver by litigation conduct goes

hand in hand with a party’s duty to file a motion invoking an arbitration provision and to do so in

a timely manner. Section 6 provides that a party invoking an arbitration provision must move to

compel arbitration. See 9 U.S.C. § 6 (“Any application to the court hereunder shall be made and

heard in the manner provided by law for the making and hearing of motions, except as otherwise

herein expressly provided.”). A corollary is that district courts must not enforce arbitration

clauses sua sponte. See Kay v. Bd. of Educ. of Chicago, 547 F.3d 736, 738 (7th Cir. 2008)

(“[F]ederal judges must not invoke arbitration agreements on their own motion.”); CPL, Inc. v.

Fragchem Corp., 512 F.3d 389, 392-93 (7th Cir. 2008) (holding that the district court erred in

dismissing a lawsuit sua sponte on the basis of an arbitration clause). The duty to bring

arbitrability to the court’s attention thus falls squarely on the party seeking arbitration.

       Given this, motions to compel arbitration are subject to the general rule that litigants must

raise in a timely manner grounds for relief they would like to seek. Except for motions

challenging subject matter jurisdiction, a district court may always consider whether a party

forfeited through delay its ability to seek certain relief. See Rice v. Nova Biomedical Corp., 38

F.3d 909, 914 (7th Cir. 1994) (“[T]he doctrine of waiver … is applicable to all defenses except

lack of subject-matter jurisdiction.”). Arbitrability does not go to subject matter jurisdiction, see

Faulkenberg v. CB Tax Franchise Sys., LP, 637 F.3d 801, 807 (7th Cir. 2011); Grasty v. Colo.

Tech. Univ., 599 F. App’x 596, 597 (7th Cir. 2015), so the court is the appropriate body to

consider waiver through litigation conduct or delay.

       Absurd consequences would flow from the rule, advanced by Whitepages, that waiver is

among the gateway arbitrability questions that can be delegated to the arbitrator. At the motion

hearing, Doc. 160, the court asked Whitepages whether, if it moved to compel arbitration on the




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second day of trial, the court would be obliged to adjourn the trial for an arbitrator to decide

whether Whitepages had waived its objection to the judicial forum. Whitepages agreed,

correctly, that this result would follow logically from its position. That Whitepages’s position

necessarily would entail that result is, to put it mildly, an enormous red flag.

       To support its position, Whitepages points to the Supreme Court cases stating that “any

doubts concerning the scope of arbitrable issues should be resolved in favor of arbitration,

whether the problem at hand is the construction of the contract language itself or an allegation of

waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 24-25 (1983) (emphasis added); see also BG Grp., PLC v. Republic of

Arg., 572 U.S. 25, 35 (2014) (same); Howsam, 537 U.S. at 84 (same). Doc. 132 at 6. But those

cases did not address which “threshold issues” parties may contractually delegate to an arbitrator.

Rent-A-Center, 561 U.S. at 68-69. They instead ruled that certain issues are presumptively for

the arbitrator, even without a delegation in an arbitration provision. See Howsam, 537 U.S. at 84

(“[T]he presumption is that the arbitrator should decide ‘allegation[s] of waiver, delay, or a like

defense to arbitrability.’”) (quoting Moses Cone, 460 U.S. at 25); see also Lumbermens Mut.

Cas. Co. v. Broadspire Mgmt. Servs., Inc., 623 F.3d 476, 481 (7th Cir. 2010) (“Our circuit has

followed Howsam in distinguishing between ‘substantive’ and ‘procedural’ arbitrability

questions, and in holding that the latter are presumptively for an arbitrator to decide.”). So if

Whitepages’s reading of Moses Cone and its progeny were correct, then the delegation clause in

Whitepages’s terms of use would be irrelevant, for the arbitrator in every case presumptively

would decide the issue of waiver through litigation conduct or delay.

       Moses Cone made no such holding, and Whitepages’s argument to the contrary confuses

two distinct meanings of the word “waiver.” The pertinent meaning here concerns waiver




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through litigation conduct or delay. The second meaning refers to a doctrine of contract law

under which “the conduct of the party” shows an “intentional relinquishment of a known right.”

Ryder v. Bank of Hickory Hills, 585 N.E.2d 46, 49 (Ill. 1991); see also Abellan v. Lavelo Prop.

Mgmt., LLC, 948 F.3d 820, 830 (7th Cir. 2020) (explaining that the waiver defense “admits the

alleged breach but can defeat a remedy”). Closely related to this second meaning of waiver is

the equitable defense of laches, which the Supreme Court of Illinois has defined as “a neglect or

omission to assert a right, taken in conjunction with a lapse of time of more or less duration, and

other circumstances causing prejudice to an adverse party.” Sundance Homes, Inc. v. Cnty. of

DuPage, 746 N.E.2d 254, 262 (Ill. 2001). Like the contractual doctrine of waiver, laches “bars

the remedy but does not discharge the right.” Halcon, 446 F.2d at 159.

       Moses Cone concerned the contractual meaning of waiver, not the litigation conduct

meaning. Although the Seventh Circuit has not expressly so held, it has continued after Moses

Cone and Howsam to address whether a party invoking an arbitration clause has waived

arbitration through litigation conduct or delay. See, e.g., Brickstructures, 952 F.3d at 891; Smith,

907 F.3d at 499; Kawasaki Heavy Indus., Ltd. v. Bombardier Recreational Prods., Inc., 660 F.3d

988, 994 (7th Cir. 2011). For a court ever to address waiver through litigation conduct would be

inconsistent with Whitepages’s reading of Moses Cone and Howsam, which posits that those

cases consigned waiver through litigation conduct to the arbitrator regardless of whether the

arbitration provision contained a delegation clause. In fact, years before Moses Cone was

decided, the Seventh Circuit expressly distinguished between “‘[w]aiver’ in the laches or

estoppel sense, rather than in the default sense or participating in judicial proceedings.” Halcon,

446 F.2d at 161. Anticipating Moses Cone, the Seventh Circuit held that laches or estoppel

issues were for the arbitrator, id. at 159 (holding that “[t]he defense of laches [is] a matter for the




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determination of the arbitrators”), but made clear that waiver through litigation conduct is

reserved for the court, id. at 161 (“Section 3 [of the FAA] expressly gives the courts jurisdiction

to determine the existence of a default.”).

       The circuits to have addressed the issue overwhelmingly agree that Moses Cone and

Howsam concern only the contractual sense of waiver. See Martin v. Yasuda, 829 F.3d 1118,

1123 (9th Cir. 2016) (“[U]nder Howsam, the question [of waiver through litigation conduct or

delay] is presumptively for a court and not an arbitrator to decide. Every circuit that has

addressed this issue—whether a district court or an arbitrator should decide if a party waived its

right to arbitrate through litigation conducted before the district court—has reached the same

conclusion.”) (citation omitted); Grigsby & Assocs., Inc. v. M Sec. Inv., 664 F.3d 1350, 1353

(11th Cir. 2011) (“[I]t is presumptively for the courts to adjudicate disputes about whether a

party, by earlier litigating in court, has waived the right to arbitrate.”); JPD, Inc. v. Chronimed

Holdings, Inc., 539 F.3d 388, 394 (6th Cir. 2008) (“Unlike contractually-based waiver, courts

have long decided whether conduct inconsistent with reliance on an arbitration agreement waives

a defendant’s ability to seek an arbitration referral … .”); Ehleiter v. Grapetree Shores, Inc., 482

F.3d 207, 219 (3d Cir. 2007) (“Properly considered within the context of the entire opinion …

the [Howsam] Court was referring only to waiver, delay, or like defenses arising from non-

compliance with contractual conditions precedent to arbitration … and not to claims of waiver

based on active litigation in court.”); Marie, 402 F.3d at 11-13 (distinguishing a “contractual

time limit clause,” which is “presumed to be for the arbitrator” under Howsam, from waiver “due

to litigation-related activity,” which courts decide). Whitepages suggests that the Eighth Circuit

held to the contrary in National American Insurance Co. v. Transamerica Occidental Life

Insurance Co., 328 F.3d 462 (8th Cir. 2003). Doc. 132 at 6. That case is distinguishable—it




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concerned a claim of waiver based on litigation with unrelated third parties, 328 F.3d at 466—

but in any event it is an outlier whose reasoning no other circuit has followed.

       In conclusion, Moses Cone addressed, not which issues the parties may delegate to the

arbitrator, but which questions must presumptively go to the arbitrator. It did not hold that a

generic clause in an arbitration provision delegating “all threshold questions” covers waiver

through litigation conduct or delay. As shown above, that issue belongs to the court.

               2.      Whitepages’s Litigation Conduct

       The standard governing whether a party waived through litigation conduct or delay its

ability to invoke an arbitration provision asks whether the party “[did] all it could reasonably

have been expected to do to make the earliest feasible determination of whether to proceed

judicially or by arbitration.” Smith, 907 F.3d at 499 (quoting Cabinetree of Wis., Inc. v.

Kraftmaid Cabinetry, Inc., 50 F.3d 388, 391 (7th Cir. 1995)). Whitepages did no such thing.

       According to Whitepages, it “recognized the arbitrability issue immediately when the

complaint was filed,” but felt it could not move to compel arbitration at the outset because the

complaint “did not allege that [Lukis] had interacted with the website, nor did [it] allege that she

had gone past the pay wall.” Doc. 103-1 at 15:24-16:3. Whitepages’s original answer did not

include an arbitrability affirmative defense. Doc. 52. On June 3, 2020, Whitepages amended its

answer to include arbitrability and class action waiver defenses. Doc. 59 at pp. 22-23, ¶¶ 22-23;

see Fed. R. Civ. P. 15(a)(1)(A) (“A party may amend its pleading once as a matter of course

within … 21 days after serving it … .”). Whitepages moved for summary judgment on June 25.

Doc. 61. The motion did not assert arbitrability. Doc. 64.

       On July 21, Costales purchased a Whitepages product that required him to affirmatively

agree to the Whitepages terms through “clickwrap.” Doc. 90-1 at ¶¶ 15-17. Costales did so in

an effort to oppose the summary judgment motion; specifically, on July 23, he submitted a


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declaration in support of Lukis’s opposition, averring that he had “personally interacted with …

Whitepages.com” and undertook a “comprehensive review of the services offered.” Doc. 77-1 at

¶ 2. Costales attached Whitepages’s terms of use to his declaration. Id. at pp. 11-18.

       The filing of Costales’s declaration was, as Whitepages admits, a “big moment” for its

thinking about arbitrability. Doc. 103-1 at 16:15-16. According to Whitepages, while it

immediately “recognized the browse wrap implications to Mr. Costales’s declaration,” it

nonetheless believed that it lacked “any evidence of click wrap.” Id. at 16:25-17:2. In other

words, Whitepages knew from Costales’s declaration that he had visited the website and perhaps

agreed to the terms of use through passive interaction, but did not know with certainty that he

had gone beyond the paywall and thereby affirmatively accepted the terms of use.

       On August 6, Whitepages replied in support of its summary judgment motion. Doc. 79.

Whitepages paid close attention to Costales’s declaration, vigorously contesting its admissibility.

Doc. 80. Weeks later, on August 31, Whitepages revealed in an interrogatory response that it

believed that Costales had investigated Whitepages’s paid services. Specifically, Whitepages

objected to providing a substantive response to an interrogatory concerning its paid offerings on

the ground that Lukis already had the information: “Plaintiff’s counsel [in his declaration] …

described all of the information that is available for free and for pay that he discovered through

his comprehensive review of Whitepages.com.” Doc. 103-2 at 7 (emphasis added). That

interrogatory response suggests that Whitepages had reason to suspect, based on Costales’s

declaration, that he might have gone beyond the paywall.

       On October 9, Whitepages served on Lukis its first set of interrogatories and requests for

admission. Doc. 94-1. Many of the requests for admission obviously concerned arbitrability.

Here is a sample: “Admit that you have visited the Whitepages’ Web site.” Id. at 28. “Admit




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that you have conducted one or more searches on Whitepages’ Web site.” Ibid. “Admit that

when you conducted one or more searches on the Whitepages Web site, the Terms of Use …

were posted on the Web site.” Ibid. “Admit that your counsel visited the Whitepages Web site

… on your behalf.” Id. at 30. “Admit that members of the putative class as defined in the

Complaint may have visited the Whitepages Web site … when the Terms of Use … were posted

on the Web site.” Id. at 31. Other requests for admission reproduced the arbitration clause and

class action waiver from the terms of use. Id. at 32.

       Nevertheless, in responding to Lukis’s waiver by litigation conduct argument,

Whitepages asserts that it did not discover until October 20 that Costales had made the July 21

purchase and thereby gone beyond the paywall. Doc. 90 at 10; Doc. 90-1 at ¶ 15. That

realization did not result from Whitepages obtaining any new information from Lukis or Costales

on or shortly before October 20. Rather, the realization resulted from Whitepages conducting a

search of its own records—a search it easily could and should have conducted on or shortly after

receiving Costales’s July 23 declaration.

       Nadine Thisselle, Whitepages’s Vice President of Finance and Operations, testified at her

deposition that Whitepages retains a record of every purchase, including the purchaser’s first and

last name and email address. Doc. 103-3 at 1 (80:10-18), 3-4 (102:20-103:4). Yet, Thisselle

recounted, Whitepages did not search its records for Costales’s name until October 20 because it

simply had not “occurred to anybody” to do so. Id. at 4 (103:8). Whitepages filed the present

motion shortly thereafter, on October 24, about an hour after the court denied Whitepages’s

summary judgment motion. Doc. 89.

       Although it appears that Whitepages did not deliberately delay filing is motion to compel

arbitration until after its summary judgment motion was denied, its delay did waive its right to




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seek arbitration of Lukis’s claim. Whitepages admits that it has been thinking about arbitration

since the complaint was filed in 2019. On July 23, 2020, Whitepages received Costales’s

declaration, which gave notice that he engaged with the website and might have gone beyond the

paywall and triggered the clickwrap agreement. Whitepages’s August 31 interrogatory response

likewise suggests that it read the declaration to convey that Costales might have gone beyond the

paywall. Whitepages’s October 9 interrogatories further demonstrate that it was paying close

attention to arbitrability.

        Yet despite its manifest suspicion prompted by Costales’s declaration, Whitepages

inexplicably neglected to investigate by searching its own records—which revealed that Costales

indeed went beyond the paywall—until October 20, after it replied in support of its summary

judgment motion. Doc. 79. That course of action does not come close to showing that

Whitepages “[did] all it could reasonably have been expected to do to make the earliest feasible

determination of whether to proceed judicially or by arbitration.” Smith, 907 F.3d at 499

(emphasis added). It necessarily follows that Whitepages, through its litigation conduct and

delay, waived its right to invoke the arbitration provision. See id. at 500 (holding that the

defendant waived its right to seek arbitration given its “inexplicable delay” in obtaining the

documents it needed to move to compel arbitration); Cabinetree, 50 F.3d at 391 (holding that the

defendant waived its right to seek arbitration where it delayed several months while it

“weigh[ed] its options”).

                3.      New Theories Presented in Whitepages’s Reply Brief

        Whitepages’s reply brief presents two new theories for why Lukis is bound to arbitrate

her claims. First, citing her January 2021 deposition testimony and discovery responses,

Whitepages argues that Lukis agreed to the terms of use, separate and apart from Costales, by

making her own visits to the website. Doc. 132 at 14-16; Doc. 132-1 at ¶¶ 6-7. According to


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Whitepages, Lukis thus assented to the terms of use, and thus the arbitration provision, under a

browsewrap theory even though she did not purchase a paid service or click through the terms.

Doc. 132 at 16-17; see Van Tassell, 795 F. Supp. 2d at 790 (“[B]rowsewrap agreements typically

involve a situation where notice on a website conditions use of the site upon compliance with

certain terms or conditions, which may be included on the same page as the notice or accessible

via a hyperlink.”) (quotation marks omitted).

        The court could disregard this argument because Whitepages presented it for the first

time in its reply brief. See O’Neal v. Reilly, 961 F.3d 973, 974 (7th Cir. 2020) (“[W]e have

repeatedly recognized that district courts are entitled to treat an argument raised for the first time

in a reply brief as waived.”); Narducci v. Moore, 572 F.3d 313, 324 (7th Cir. 2009) (“[T]he

district court is entitled to find that an argument raised for the first time in a reply brief is

forfeited.”). But judicial economy favors addressing the issue now, given that it could continue

to shadow this litigation going forward.

        As with Costales’s purchase of a Whitepages product on July 21, Whitepages waived

Lukis’s browsing activity as a basis for compelling arbitration. As noted, Whitepages admits

that it “recognized the arbitrability issue immediately when the complaint was filed.” Doc. 103-

1 at 15:24-25. Indeed, the complaint clearly conveyed that Lukis had personally visited the

Whitepages website, alleging: “In 2018 Lukis discovered that Whitepages uses her name, age,

city of domicile, and the identity of her relatives in advertisements on the Whitepages

website … . These advertisements were the same or substantially similar to those shown in

Paragraph 10.” Doc. 1-1 at ¶ 22. Paragraph 10, in turn, displayed screenshots from the

Whitepages website. Id. at ¶ 10. It is difficult to imagine how Lukis might have “discovered”

advertisements on the website without visiting it. Whitepages therefore had everything it needed




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based on the complaint’s allegations to move to compel arbitration based on a browsewrap

theory.

          Whitepages argues that such a motion was not possible at that time because it needed

evidence from outside the pleadings to confirm that Lukis visited the website. Doc. 103-1 at

16:4-11. This argument reflects a misunderstanding of the pertinent procedures. True enough, a

motion to compel arbitration may go beyond the pleadings. See Tinder, 305 F.3d at 735 (holding

that “the evidentiary standard a party seeking to avoid compelled arbitration must meet” is

analogous to “that required of a party opposing summary judgment”); Armbrister v. Pushpin

Holdings, LLC, 896 F. Supp. 2d 746, 753 n.3 (N.D. Ill. 2012) (holding that, in ruling on a motion

to stay litigation under § 3 of the FAA, a court “may consider matters outside the pleadings”).

But if there are factual disputes about whether the parties agreed to arbitration, the FAA requires

the court to “proceed summarily to the trial thereof.” 9 U.S.C. § 4; see Deputy v. Lehman Bros.,

345 F.3d 494, 509-10 (7th Cir. 2003) (“Section 4 … required the court to hold a trial if the

making of the arbitration agreement was in issue.”). This sequence of events played out in

Gupta v. Morgan Stanley Smith Barney, LLC, 934 F.3d 705 (7th Cir. 2019), where the plaintiff

filed a lawsuit, the defendant immediately moved to compel arbitration, the district court

concluded a trial was needed on the issue of contract formation, and the court ultimately granted

summary judgment to the defendant on that issue. Id. at 709-10.

          Whitepages could and should have followed that procedure here. Whitepages

acknowledges that it was pondering the arbitration issue as soon as the complaint was filed, and

the complaint all but admitted that Lukis had visited the website. Whitepages could have

immediately raised the issue by motion, and the parties could have focused on the arbitration

question—including by conducting any necessary discovery—before broaching substantive




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issues in the case. Instead, Whitepages filed and the court expended considerable resources

deciding two dispositive motions concerning the merits of this suit. To now enforce the

arbitration provision based on Lukis’s visits to the website, after Whitepages’s repeated and

unexcused failures to assert the provision’s existence or applicability, would improperly accord

the provision a special status that the court would not give to other contractual provisions. See

Volkswagen Of Am., Inc. v. Sud’s Of Peoria, Inc., 474 F.3d 966, 970 (7th Cir. 2007) (“[T]he

FAA’s purpose is not to provide special status for [arbitration] agreements. Rather, it makes

‘arbitration agreements as enforceable as other contracts, but not more so.’”) (quoting Prima

Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 404 n.12 (1967)); Cabinetree, 50 F.3d

at 390 (“In determining whether a waiver has occurred, the court is not to place its thumb on the

scales; the federal policy favoring arbitration is, at least so far as concerns the interpretation of an

arbitration clause, merely a policy of treating such clauses no less hospitably than other

contractual provisions.”).

        The second new theory asserted in Whitepages’s reply brief turns on Lukis’s deposition

testimony that her (apparently estranged) mother used Whitepages’s service to locate and harass

her. Doc. 132 at 17. Whitepages argues that: (1) Lukis’s mother’s harassment of Lukis breached

Whitepages’s terms of use; (2) through this lawsuit, Lukis seeks to hold Whitepages liable for

that breach; (3) Whitepages will have to bring an indemnification claim against Lukis’s mother

in arbitration; and (4) Lukis will be a necessary party to that arbitration proceeding, requiring

arbitration of this suit as well. Ibid. Whitepages’s chain of reasoning breaks down at its second

link: Lukis is not suing Whitepages for her mother’s harassment. Rather, this is a lawsuit to

redress Whitepages’s alleged violation of the IRPA by making commercial use of her identity.

Whitepages may seek arbitration of a claim based on the harassment if Lukis brings one.




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       B.      Motion to Transfer

       In the alternative to moving to compel arbitration, Whitepages moves under 28 U.S.C.

§ 1404(a) to transfer this suit to the Western District of Washington based on the forum selection

clause in the terms of use. Doc. 89 at 1; Doc. 90 at 18. The forum selection clause states:

         If the arbitrator determines [the dispute resolution provisions are]
         unenforceable, invalid, or ha[ve] been revoked as to any claim(s), then the
         Dispute as to such claim(s) will be decided by the courts in the state of
         Washington, King County, or the United States District Court for the Western
         District of Washington, and the parties irrevocably submit to the exclusive
         jurisdiction of such courts. If the class action waiver clause is determined to
         be illegal or unenforceable, th[ese] entire [dispute resolution provisions] will
         be unenforceable, and the Dispute will be decided by the courts of the state of
         Washington, King County, or the United States District Court for the Western
         District of Washington, and the parties irrevocably submit to the exclusive
         jurisdiction of such courts.

Doc. 90-1 at 14, § 12.10. The capitalized term “Dispute” is defined to mean “ANY DISPUTE,

CLAIM OR CONTROVERSY BETWEEN YOU AND WHITEPAGES RELATING IN ANY

WAY TO THIS AGREEMENT OR YOUR ACCESS TO OR USE OF THE SERVICES OR

CONTENT.” Ibid.

       As with the arbitration clause, the court accepts as true that Lukis, through Costales’s

purchase of a Whitepages product, agreed to the forum selection clause. Forum selection clauses

are enforced through a motion under 28 U.S.C. § 1404(a). See Atl. Marine Const. Co. v. U.S.

Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 55-59 (2013); Mueller v. Apple Leisure Corp., 880

F.3d 890, 894 (7th Cir. 2018) (same). But transfer under § 1404(a) is warranted only if the

clause applies to the suit in question. See Vance v. Gallagher, 280 F. App’x 533, 537 (7th Cir.

2008) (holding that a forum selection clause did not apply because it governed only contract

claims and the plaintiff sued under a quantum meruit theory).

       Whitepages’s forum selection clause by its own terms does not apply here. First, this suit

is not a “Dispute” as defined in the terms of use. Lukis’s IRPA claim has three elements:


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“(1) the appropriation of one’s identity, (2) without one’s consent, (3) for another’s commercial

benefit.” Dancel v. Groupon, Inc., 949 F.3d 999, 1008 (7th Cir. 2019). None of these elements

“relat[es] in any way to” Whitepages’s terms of use or Lukis’s use of Whitepages’s services.

Doc. 90-1 at 14, § 12.10. That is, in order to prevail on her IRPA claim, Lukis need not prove

anything about the terms of use or that she ever used the Whitepages website. Her claim is

directed solely at Whitepages’s publicizing her identity for a commercial purpose. So there is no

“Dispute” here to which the forum selection clause could apply. Cf. uBID, Inc. v. GoDaddy

Grp., Inc., 623 F.3d 421, 429 n.2 (7th Cir. 2010) (holding that a forum selection clause in an

online company’s terms of use was “not relevant” because the company’s “alleged misconduct

toward a third party … ha[d] nothing to do with the jurisdictional expectations the company has

fostered with those customers who read all the details of the form contract”).

       A second and independent reason that the forum selection clause does not apply is that

neither of its preconditions has been satisfied. The clause is triggered either when “the arbitrator

determines” that the dispute resolution provisions are invalid or when “the class action waiver

clause is determined to be illegal or unenforceable.” Doc. 90-1 at 14, § 12.10. No arbitrator has

determined anything, and this court has not even addressed, let alone held unenforceable, the

class action waiver clause. The motion to transfer is denied for that reason as well.

II.    Lukis’s Motion for Leave to Amend the Complaint

       On November 9, 2020, less than two weeks after Whitepages moved to compel

arbitration, Lukis moved “to amend her complaint to add additional putative class representatives

whose claims are not subject to arbitration.” Doc. 97 at 2. The proposed first amended

complaint adds two new plaintiffs/putative class representatives—Mantas Norvaisas and Shawn

Brown—and allegations concerning Whitepages’s commercial use of their identities. Doc. 97-1

at ¶¶ 1, 30-43. The amendment otherwise leaves the complaint unchanged.


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        Rule 15(a)(2) provides that “court[s] should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). That said, district courts “have broad discretion to deny

leave to amend where there is undue delay, bad faith, dilatory motive, repeated failure to cure

deficiencies, undue prejudice to the defendants, or where the amendment would be futile.” Right

Field Rooftops, LLC v. Chi. Cubs Baseball Club, LLC, 870 F.3d 682, 693 (7th Cir. 2017)

(quotation marks omitted).

        Governing precedent endorses motions to join additional named plaintiffs to a putative

class action in prompt response to a challenge raised by the defendant to the original named

plaintiff(s). In Randall v. Rolls-Royce Corp., 637 F.3d 818 (7th Cir. 2011), the Seventh Circuit

observed that the entry into the case of new putative class representatives is appropriate if it is

“sought as soon as a substantial challenge to certification is made” by the defendant to the

original putative class representative’s adequacy or typicality. Id. at 827. The Seventh Circuit

affirmed the district court’s denial of leave to add new class members, but only because the

plaintiff did not seek leave until “after the judge had denied class certification … and long after it

was plain that there were substantial doubts about the typicality of the named plaintiffs’ claims

and the adequacy of their representation of the class.” Ibid. Here, by contrast, Lukis moved for

leave to amend less than two weeks after Whitepages moved to compel arbitration of her claims,

precisely the time frame contemplated by Randall. See In re Allstate Corp. Sec. Litig., 966 F.3d

595, 615-16 (7th Cir. 2020) (affirming the district court’s grant of leave to amend to add a new

lead plaintiff, and rejecting the argument that the new plaintiff had “somehow waived its ability

to act as a class representative in this case by relying for a time on the original lead plaintiff to

pursue the case”).




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       Whitepages’s contrary arguments are unpersuasive. First, it contends that the proposed

amendment would be futile. Doc. 124 at 9-15. Usually, a defendant asserts futility when the

original complaint fails to state a claim and the question is whether a proposed amended

complaint might cure the original’s defects. See Runnion ex rel. Runnion v. Girl Scouts of

Greater Chi. & Nw. Ind., 786 F.3d 510, 520 (7th Cir. 2015) (“Where it is clear that the defect

cannot be corrected so that amendment is futile, it might do no harm to deny leave to amend and

to enter an immediate final judgment … .”). The futility analysis asks whether, under “the legal

sufficiency standard of Rule 12(b)(6)[,] … the proposed amended complaint fails to state a

claim.” Id. at 524; see also Townsel v. DISH Network L.L.C., 668 F.3d 967, 969 (7th Cir. 2012)

(“The judge deemed the proposed amendment futile, which is functionally the same as allowing

amendment and then dismissing under [Rule] 12(b)(6).”). Here, the court has already concluded

that the existing complaint does state a claim. 454 F. Supp. 3d at 760-63.

       The specific futility arguments that Whitepages advances also fail on the merits, at least

for purposes of a Rule 15(a)(2) motion. For example, Whitepages argues that Lukis’s deposition

testimony contradicts allegations in the complaint. Doc. 124 at 13-15. That argument cannot be

considered in assessing the viability of a pleading under Rule 12(b)(6), and the same holds for

assessing the futility of an amended pleading under Rule 15(a)(2). See McDaniel v. Loyola Univ.

Med. Ctr., 317 F.R.D. 72, 79 (N.D. Ill. 2016) (“[I]t is inappropriate for the Court to go beyond

the pleadings and any critical documents referred to therein when considering Defendants’

futility objection to Plaintiff’s motion to amend.”); Tissue Prods. Tech. Corp. v. Factory Mut.

Ins. Co., 2008 WL 11345876, at *1 (E.D. Wis. Aug. 21, 2008) (“[T]he fact that futility may

sometimes constitute a reason for denial of a motion to amend is not a general invitation … to

raise defenses that require analysis of matters outside the pleadings.”).




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       Whitepages next argues that the two proposed putative class representatives “fail[] to

plead facts establishing that [their] claims are not subject to binding arbitration and class

waiver.” Doc. 124 at 10. But a plaintiff need not plead around arbitrability. As discussed

above, the onus is on the party seeking arbitration to raise the issue. See 9 U.S.C. § 6; Goplin v.

WeConnect, Inc., 893 F.3d 488, 491 (7th Cir. 2018) (“WeConnect bore the burden of

establishing its right to enforce the arbitration agreement.”); A.D. v. Credit One Bank, N.A., 885

F.3d 1054, 1063 (7th Cir. 2018) (“[A]s the party seeking to compel arbitration, Credit One had

the burden of showing that A.D. was bound by the cardholder agreement as an authorized

user.”). Arbitrability is thus akin to an affirmative defense, which complaints need not

anticipate. See Stuart v. Loc. 727, Int’l Bhd. of Teamsters, 771 F.3d 1014, 1018 (7th Cir. 2014)

(“A plaintiff is not required to negate an affirmative defense in his or her complaint, for the

painfully obvious reason that the defendant will not have pleaded any affirmative defenses until

it files its answer or a motion to dismiss.”) (citations omitted).

       Whitepages next argues that leave to amend should be denied because the proposed class

cannot be certified. Specifically, Whitepages contends that Lukis and her counsel inadequately

represent the class, Doc. 124 at 12, which is the same argument it makes in moving to strike the

class allegations, Docs. 119, 121. Whitepages adds that the proposed class definition is flawed

because it does not exclude class members who have agreed to arbitrate their claims against

Whitepages. Doc. 124 at 18-19. The court will address those arguments in ruling on

Whitepages’s motion to strike.

       Finally, Whitepages argues that Lukis unduly delayed in seeking amendment, Doc. 124 at

15-18, and that she brings her motion to amend in bad faith, id. at 19-20. To the contrary, and as

just noted, Lukis brought her motion less than two weeks after Whitepages made “a substantial




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challenge” to her ability to represent a class, which the Seventh Circuit has held is an appropriate

time to seek leave to amend. See Randall, 637 F.3d at 827. Whitepages retorts that Lukis had a

duty to seek leave to amend much earlier, on July 21, when Costales went beyond the paywall.

Doc. 124 at 15-16. But it is the timing of the defendant’s invocation of an arbitration clause that

matters, not the plaintiff’s first inkling of a possible issue that the defendant might choose to

raise. Again, Whitepages, not Lukis, had the duty to assert arbitrability. After Whitepages

finally did so, Lukis moved with the requisite dispatch for leave to amend.

III.   Whitepages’s Motion to Strike Class Allegations and Counsel

       In moving to strike the complaint’s class allegations and putative class counsel,

Whitepages argues that Lukis’s testimony at her January 2021 deposition shows that she is an

inadequate class representative, Doc. 121 at 8-16, and that Beaumont Costales is inadequate class

counsel because it chose Lukis as a named plaintiff, inadvertently bound her to arbitrate her

claims, and has not kept her apprised of the litigation, id. at 16-19. In addition, Whitepages

argues that the class definition fails because it does not exclude individuals who have agreed to

arbitrate their claims against Whitepages. Doc. 124 at 18-19.

       Whitepages’s motion to strike relies throughout on matters outside the pleadings rather

than on flaws inherent to the class as alleged in the complaint. It is unclear whether a motion to

strike class allegations or class counsel can properly go beyond the complaint in that manner.

Granted, Rule 23(c)(1), not Rule 12(f), governs motions to strike class allegations. See Cook

Cnty. Coll. Tchrs. Union, Loc. 1600 v. Byrd, 456 F.2d 882, 884 (7th Cir. 1972) (stating that the

defendants’ motion to reject class certification was “pursuant to Rule 23(c)(1)”); Buonomo v.

Optimum Outcomes, Inc., 301 F.R.D. 292, 295 (N.D. Ill. 2014) (St. Eve, J.) (“Courts in this

District … evaluate motions to strike class allegations under Rule 23, not Rule 12(f).”); Hill v.

Wells Fargo Bank, N.A., 946 F. Supp. 2d 817, 829 (N.D. Ill. 2013) (relying on Rule 23(c)(1) as


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the procedural mechanism for a motion to strike class allegations). And there is no question that

the analysis of a motion to certify a class under Rule 23 must go beyond the pleadings. See

Priddy v. Health Care Serv. Corp., 870 F.3d 657, 660 (7th Cir. 2017) (“Unlike a motion under

Federal Rule of Civil Procedure 12(b)(6), a motion to certify a class under Rule 23(c) is not one

for which the court may simply assume the truth of the matters as asserted by the plaintiff.

Instead, if there are material factual disputes, the court must receive evidence and resolve the

disputes before deciding whether to certify the class.”) (citation, alterations, and quotation marks

omitted).

       For motions to strike class allegations, however, the analysis may be limited to the face

of the complaint. Rule 23(c)(1)(A) provides that the court must address class certification “[a]t

an early practicable time after a person sues … as a class representative.” Fed. R. Civ. P.

23(c)(1)(A). That “practicable time” can sometimes arrive “at the pleading stage.” Al Haj v.

Pfizer Inc., 338 F. Supp. 3d 741, 757 (N.D. Ill. 2018). That said, courts have held that “[i]t is

‘practicable’ to resolve the class certification question at the pleadings stage only when it is

apparent from the complaint that class certification is inappropriate.” Rysewyk v. Sears Holdings

Corp., 2015 WL 9259886, at *7 (N.D. Ill. Dec. 18, 2015) (emphasis added); see also Hill, 946

F. Supp. 2d at 829 (“Most often it will not be ‘practicable’ for the court to [reject class

certification] at the pleading stage, but sometimes the complaint will make it clear that class

certification is inappropriate.”) (emphasis added). On this view, a motion to strike should be

granted only when “the plaintiff’s class allegations are facially and inherently deficient.”

Buonomo, 301 F.R.D. at 295; see also DuRocher v. NCAA, 2015 WL 1505675, at *1 (S.D. Ind.

Mar. 31, 2015) (“Even on a motion to strike class allegations, it is not appropriate for the Court

to consider matters outside the pleadings.”). At least one decision from this District has held to




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the contrary, reasoning that a motion to strike is “a vehicle for analyzing the appropriateness of

class certification,” so “the court is not limited to the face of plaintiff’s complaint.” Lee v.

Children’s Place Retail Stores, Inc., 2014 WL 5100608, at *2 (N.D. Ill. Oct. 8, 2014). But the

majority view is that, when a defendant moves to strike class allegations, the inquiry is limited to

the facial plausibility of the class as alleged in the complaint.

       Under the majority rule, Whitepages’s motion to strike fails because its arguments go

beyond the pleadings. But there is no need to definitively so hold here. Lukis moved for class

certification in early March 2021. Doc. 162. At the presentment hearing, Doc. 166, Whitepages

asked that briefing on that motion be postponed pending resolution of its motion to compel

arbitration. Now that the motion to compel arbitration has been denied, Whitepages may press in

its opposition to Lukis’s class certification motion all the points raised in its motion to strike,

unclouded by the procedural question of whether a motion to strike may look beyond the

pleadings. It is thus prudent to deny Whitepages’s motion to strike, without prejudice to

Whitepages’s reasserting any of its arguments in opposition to class certification.

IV.    Lukis’s Motion to Compel

       Lukis moves to compel Whitepages to disclose information, documents, and testimony

concerning the non-party entities with which Whitepages contracts to obtain data for its free

previews and background reports. Doc. 127 at 1. There is no question that those agreements

exist. Rohn Ramon, Whitepages’s Director of Strategy, testified: “All data is sourced from data

sources. We at Whitepages do not scrape the internet or anything like that to collect our data, so

it comes from other data sources.” Doc. 145 at 201 (49:6-9).

       Lukis first attempted to obtain information and documents about Whitepages’s data

providers in written discovery requests served on July 31, 2020. Id. at 6-11. Interrogatories 3

and 4 asked Whitepages to “[i]dentify every person that you contracted with … to collect or


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obtain [personal identity information] for use on your Website” and to “[i]dentify which

person(s) you contracted with to obtain [Lukis’s] mobile telephone number(s).” Id. at 9.

Document Request 2 sought “[a]ll documents considered or relied on in answering Plaintiff’s

interrogatories.” Id. at 10. Whitepages objected, asserting that the interrogatories sought

“confidential and/or trade secret information that is protected from disclosure by applicable law

and contractual provisions,” and that, in answering those interrogatories, it had not considered or

relied on any documents not already in Lukis’s possession. Doc. 127-1 at 4-5, 11. On December

28, Lukis sent a second discovery request seeking the contracts between Whitepages and its data

providers, to which Whitepages has not responded. Doc. 127-3 at 3. Finally, Whitepages

directed three of its witnesses—Thisselle, the Vice President of Finance and Operations; Laura

Mehrkens, the Director of Product; and Ramon, the Director of Strategy—to not answer

deposition questions on the subject of data providers due to its confidentiality agreements with

them. Doc. 145 at 65-66 (63:22-66:7), 98 (71:19-72:2), 133 (212:22-213:19), 200-201 (42:23-

48:20).

          Lukis seeks an order that would: (1) require Whitepages’s witnesses to provide

deposition testimony on those issues; (2) authorize a second deposition of Ramon in light of the

previous refusals to answer questions; and (3) compel Whitepages to respond substantively to

Lukis’s interrogatories and document requests on those subjects. Doc. 127 at 6.

          Lukis has complied with Local Rule 37.2. A motion to compel must include a statement

“that after consultation in person or by telephone and good faith attempts to resolve differences

[the parties] are unable to reach an accord.” N.D. Ill. L.R. 37.2. Lukis’s Local Rule 37.2

statement asserts that her counsel and Whitepages’s counsel orally conferred about the non-party

data providers in phone calls on September 9 and December 15, 2020, and at a deposition in




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January 2021. Doc. 127 at 7. Whitepages confirms that counsel discussed those issues on

September 9 and December 15. Doc. 145 at 2, ¶¶ 4-5, 9. Lukis’s counsel sent an email to

Whitepages’s counsel on December 16 documenting the December 15 call. Doc. 127-2. The

email stated that Lukis requested (1) the names of the data providers, (2) Whitepages’s contracts

with them, and (3) testimony by Whitepages’s witnesses about its relationships with them. Id. at

1. Whitepages confirmed receipt of the email but stated that it still needed consent from the data

providers to turn over that information and those documents. Doc. 127-3 at 1-2. Thus, the

parties conferred orally, but Whitepages refused to provide discovery about the data providers

due to its confidentiality agreements with them.

       In response to Lukis’s motion to compel, Whitepages has abandoned its position that the

confidentiality agreements bar discovery on those issues. Doc. 147. That change of heart is

correct: “Contracts bind only the parties. No one can ‘agree’ with someone else that a stranger’s

resort to discovery under the Federal Rules of Civil Procedure will be cut off.” Gotham

Holdings, LP v. Health Grades, Inc., 580 F.3d 664, 665 (7th Cir. 2009). The principal reason

that Whitepages set forth in its objections has thus disappeared.

       Whitepages continues to oppose Lukis’s motion to compel on other grounds, though.

First, Whitepages argues that the motion is moot because its motions to compel arbitration and to

strike class allegations should be granted. Doc. 147 at 8-9. As explained, both motions are

denied, so the motion to compel remains a live issue.

       Second, Whitepages argues that the details of its relationships with its data providers are

not relevant to any claim or defense. Id. at 9-13. The scope of relevant discovery is broad:

“Unless otherwise limited by court order, the scope of discovery is as follows: Parties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and




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proportional to the needs of the case … .” Fed. R. Civ. P. 26(b)(1). Information “need not be

admissible in evidence to be discoverable.” Ibid. For that reason, information may be relevant

under Civil Rule 26 even if it would not be admissible at trial under Evidence Rule 401:

“Admissibility at trial is not the test. Evidence is relevant in a discovery context if it is relevant

to the subject matter of the litigation as Rule 26(b)(1) states, not just the particular issues

presented in the pleadings.” Eggleston v. Chi. Journeymen Plumbers’ Loc. Union No. 130, 657

F.2d 890, 903 (7th Cir. 1981).

        Whitepages’s relationships with its data providers are unquestionably relevant to a

defense it has pleaded. As discussed in the court’s summary judgment opinion, one of

Whitepages’s defenses rests on the premise that its background reports fall under the IRPA’s

statutory exemption for non-commercial purposes, 765 ILCS 1075/35(b)(2), because the reports

incorporate publicly available information and public records. 2020 WL 6287369, at *6-7; see

Doc. 59 at p. 17, ¶ 1 (asserting § 35(b)(2) in Whitepages’s first affirmative defense). Lukis seeks

information about Whitepages’s data sources to determine whether the information they provide

is, in fact, publicly available or derived from public records. Doc. 127 at 5; Doc. 157 at 2-3.

This direct connection to Whitepages’s defense establishes the relevance of the information,

documents, and testimony that Lukis seeks.

        Discovery regarding Whitepages’s data providers also could relate to an element of

Lukis’s claim: her lack of consent. One element for liability under the IRPA is that the

defendant lacked “previous written consent” from the plaintiff to use her identity for commercial

purposes. 765 ILCS 1075/30(a); see Dancel, 949 F.3d at 1008 (holding that an IRPA plaintiff

must prove appropriation “without one’s consent”). Whitepages contests that element on what

might be called a third-party consent theory. While admitting that it did not obtain Lukis’s




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consent directly, Doc. 59 at p. 10, ¶ 25, Whitepages suggests that Lukis may have provided her

consent, along with her personal data, to other entities, which in turn provided her data to

Whitepages, which in turn deployed that data for commercial purposes. As Whitepages

describes it, its first request for production “sought contracts between Lukis and third parties that

contain provisions related to the sharing of Lukis’s personal information and Lukis’s consent to

such sharing.” Doc. 161 at 9; see Doc. 138-1 at 251. If Whitepages believes that Lukis’s

contracts with non-party data providers are relevant because they might show that she consented

to the commercial use of her identity, then it cannot plausibly maintain that its own contracts

with data providers are irrelevant to that same issue. The third-party consent theory provides

another basis for the relevance of Lukis’s discovery requests and deposition questions.

       Whitepages’s third basis for opposing Lukis’s motion to compel is that Thisselle,

Mehrkens, and Ramon have already testified about its data providers. Doc. 147 at 13-14.

Without excessively quoting the deposition passages that Whitepages cites, it suffices to say that

Whitepages’s counsel prevented Lukis from obtaining any meaningful testimony on that subject.

Counsel objected to nearly every question asked by Costales, based on confidentiality or some

other reason. Indeed, Whitepages instructed its witnesses not to answer questions or to limit

their answers in several of the passages that it now asserts support its position. Doc. 145 at 65

(65:16-21), 98 (71:19-72:2), 200 (43:7-44:13).

       This is a good point to pause and remind counsel that “Rule 30(c)(2) … provides only

three justifications for instructing a deponent not to answer a question: to preserve a privilege; to

enforce a limitation imposed by the court; or to present a Rule 30(d)(3) motion.” Rojas v.

X Motorsport, Inc., 275 F. Supp. 3d 898, 902 (N.D. Ill. 2017) (citing Redwood v. Dobson, 476

F.3d 462, 467-68 (7th Cir. 2007)). “There often can be a fine line between zealous advocacy,




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which of course is allowed, and violating Rule 30(c)(2) and engaging in other obstreperous

deposition conduct, which is not.” Id. at 908. There is no need to decide here whether

Whitepages’s repeated objections and instructions not to answer crossed that line, but

Whitepages certainly prevented Lukis from obtaining the information she seeks in this motion.

       Fourth, Whitepages argues that ordering its witnesses to provide testimony regarding its

data providers would amount to an advisory opinion. Doc. 147 at 14-15. It is true that district

courts should avoid ruling on “hypothetical future discovery requests.” Novelty, Inc. v.

Mountain View Mktg., Inc., 2009 WL 10687825, at *2 (S.D. Ind. Oct. 15, 2009). But that is not

the situation here: Lukis served discovery requests targeting the information she seeks and asked

pertinent questions at depositions. Whitepages refused to substantively respond to those requests

and directed its witnesses to not answer those questions. Now Lukis moves to compel, and there

is nothing advisory about the court’s granting the motion and ordering Whitepages to produce

the information, documents, and testimony in question.

       Finally, Whitepages argues that Lukis’s motion should be denied as untimely. Doc. 147

at 15-16. That argument is unpersuasive. Lukis filed her motion on January 28, 2021, Doc. 127,

before the fact discovery deadline of February 1, Doc. 75. This case therefore does not resemble

Kalis v. Colgate-Palmolive Co., 231 F.3d 1049 (7th Cir. 2000), where the plaintiff did not move

to extend discovery until four months after discovery closed. Id. at 1056-57. Still, Whitepages

emphasizes that it notified Lukis of its confidentiality objection on August 31 and that she did

not move to compel until nearly five months later. Doc. 147 at 16. Much of that delay, however,

is properly attributed to Whitepages. Whitepages objected to discovery regarding its data

providers on confidentiality grounds, but then on December 15 promised to seek the data

providers’ consent, Doc. 127-2 at 1; Doc. 127-3 at 1, and then revealed at Mehrkens’s deposition




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on January 19 that no consent would be forthcoming, Doc. 145 at 133-134 (213:20-214:9).

Lukis filed her motion to compel nine days after receiving that news. Under those

circumstances, Lukis was not dilatory in filing her motion.

V.     Whitepages’s Motion to Compel

       Whitepages moves to compel Lukis to produce eighteen items: (1) the Craigslist

advertisement that Beaumont Costales posted soliciting potential plaintiffs for this suit;

(2) documents related to Lukis’s use of four credit reporting agencies; (3) her cell phone

contracts with two companies; (4) her applications to work at four specific employers; her

account history and profiles at (5) Craigslist, (6) eBay, (7) Amazon, (8) Uber, (9) MySpace,

(10) YouTube, (11) Google, (12) Google+, and (13) FamilyTreeNow.com; (14) her “privacy

settings on all relevant Web sites”; (15) all browser history and other documentation of her visits

to Whitepages.com; (16) an unredacted copy of her engagement letter with Beaumont Costales;

(17) the transcript of a deposition that she gave in another case; and (18) a privilege log for any

documents she has withheld on the basis of privilege. Doc. 138 at 9-15. Whitepages asks that

Lukis search for documents responsive to these requests on at least nine designated devices and

accounts. Id. at 8-9.

       Most of the eighteen items have not been discussed in a Local Rule 37.2 conference. As

noted, the local rule requires that a motion to compel must be preceded by “consultation in

person or by telephone.” N.D. Ill. L.R. 37.2 (emphasis added). This court’s discovery

procedures reiterate that “an exchange of correspondence—as opposed to an in-person or

telephonic conference—ordinarily will not suffice.” Case Procedures, Discovery and Discovery

Motions, https://www.ilnd.uscourts.gov/PrintContent.aspx?cmpid=642. Courts in this District

routinely enforce the requirement that the consultation take place orally. See Jackson-El v. City

of Markham, 332 F.R.D. 583, 584 (N.D. Ill. 2019) (“[A]s significant as emails are for evidentiary


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purposes, for purposes of Rule 37.2, emails do not count.”) (citation omitted); BankDirect

Capital Fin., LLC v. Capital Premium Fin., Inc., 343 F. Supp. 3d 742, 744 (N.D. Ill. 2018)

(holding that letters and emails are insufficient to comply with Local Rule 37.2); Geraci v.

Andrews, 2017 WL 1822290, at *1 (N.D. Ill. May 5, 2017) (“Local Rule 37.2 makes it plain that

letters and emails don’t count, and with good reason.”); Transcap Assocs., Inc. v. Euler Hermes

Am. Credit Indem. Co., 2009 WL 1543857, at *5 (N.D. Ill. June 3, 2009) (“[T]here is no

indication that the parties ever consulted in person or by telephone prior to the filing of

Transcap’s motion … .”); Sondker v. Philips Elecs., 2004 WL 1687016, at *2 (N.D. Ill. July 27,

2004) (“[T]his letter does not satisfy the requirements of Local Rule 37.2.”).

       In its Local Rule 37.2 certification, Doc. 138 at 16, and reply brief, Doc. 161 at 5-6,

Whitepages relies heavily on a letter that it sent to Lukis’s counsel on January 11, 2021, six days

after her January 5 deposition. Doc. 138-1 at 348-357. Most of the specific “discovery

deficiencies” listed in the letter sought further information based on Lukis’s deposition

testimony, id. at 354-355, and Whitepages’s motion to compel targets those alleged deficiencies.

No oral conference followed the letter. Whitepages’s counsel sent a follow-up email on January

13 seeking additional items of discovery but not requesting a telephonic conference. Id. at 360-

361. On January 18, Lukis’s counsel responded by email simply refusing to supplement her

discovery. Id. at 359. The net result of this impasse is that the matters raised in the January 11

letter have not been the subject of an oral discussion between counsel.

       The only oral conference compliant with Local Rule 37.2 took place the previous month,

on December 22, 2020. Id. at 3, ¶ 7. Whitepages’s counsel wrote a letter to Lukis’s counsel on

December 23 memorializing what they had discussed. Id. at 245-249. The letter shows that only

some of the items raised in Whitepages’s motion to compel were discussed on December 22. In




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particular, the parties seem to have discussed Whitepages’s requests related to Lukis’s social

media accounts—Document Request 15 and Interrogatory 8—which sought information related

to MySpace, YouTube, and Google+. Id. at 246-247, 259, 267. Counsel also discussed

Whitepages’s request for records of Lukis’s visits to the Whitepages website, including any

information stored in browser history on her devices, as sought through Documents Requests 13

and 14. Id. at 246-247, 258-259. Finally, counsel discussed whether Lukis would produce a

privilege log for documents that she claims as privileged. Id. at 247.

       Thus, the December 22 oral consultation concerned only items (9), (10), (12), (15), and

(18). None of the other items has been discussed at a Rule 37.2 conference. Items (1) through

(8) and (11) appeared for the first time in Whitepages’s counsel’s January 11 letter. Id. at 354-

355. Items (13), (14), and (17) appeared for the first time in the motion to compel itself.

Doc. 138 at 10, 13-14. As for item (16), the Beaumont Costales engagement letter, counsel did

discuss that issue on December 22. Doc. 138-1 at 246. But Lukis produced the letter, with two

out of eleven paragraphs redacted. Id. at 4, ¶ 18; 363-364. The motion to compel seeks to

remove the redactions, Doc. 138 at 12-13, but there has been no oral discussion between counsel

of the redaction issue.

       Whitepages argues that Lukis’s generally dilatory and evasive discovery conduct renders

“preposterous” the notion that it has failed properly to confer on those issues. Doc. 161 at 5-6.

There may be blame to go around, and both parties are reminded to respond to discovery

requests timely and candidly. But Whitepages’s frustration cannot excuse it from complying

with Local Rule 37.2. The oral conferral requirement is no mere formality, as conversation

encourages productive compromise better than dueling letters or emails:

         There are sound reasons why what [Whitepages] call[s] a “meet-and-confer
         letter” is not authorized by Local Rule 37.2. [Doc. 138-1 at 3, ¶ 13.] Anyone



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         can write a letter. But that does not mean that the recipient will fairly consider
         the letter before dashing off one of his own that does little more than persist in
         setting forth his partisan point of view. The letters and the emails that one all
         too often see[s] do little more than articulate the parties’ polar positions with
         the clash of pretending absolutes left unresolved. Local Rule 37.2 is based on
         the teaching of long experience that face-to-face [or at least telephonic]
         discussions are far more likely to result in compromise and agreement than is
         an exchange of letters that are all too easy to brush aside.

Slaven v. Great Am. Ins. Co., 2014 WL 4470723, at *2 (N.D. Ill. Sept. 11, 2014). Only items

(9), (10), (12), (15), and (18) are proper subjects for a motion to compel.

       Items (9), (10), and (12) concern Lukis’s account histories and profiles at MySpace,

YouTube, and Google+. Whitepages sought those items through Document Request 15, which

requested “[a]ll documents and communications related to … any social media account or profile

that you maintain,” listing sixteen specific social media sites. Doc. 138-1 at 259. Relatedly,

Document Request 17 sought “[a]ll documents and communications reflecting your consent to

use or share any aspect of your identity.” Id. at 260. Lukis initially objected to both requests on

the grounds that her social media accounts were irrelevant and that the requests were unduly

burdensome. Id. at 259-260. But Lukis later produced downloads of her Facebook, LinkedIn,

and Twitter accounts, though with redactions. Id. at 3, ¶¶ 10-11; id. at 260. Lukis now

maintains that she overproduced irrelevant private materials, id. at 359, and that more production

would go even further beyond what is proportional to the needs of this case, Doc. 158 at 4-5.

       As discussed in connection with Lukis’s motion to compel, Whitepages submits that

Lukis’s interactions with other technology companies are relevant to its third-party consent

theory: “Lukis has given broad, written consent for thousands of third parties to use and disclose

her personal information (including for advertising purposes).” Doc. 161 at 13. For the same

reasons that Whitepages’s contracts with data providers are potentially relevant on this basis,

Lukis’s contracts with other non-parties could be relevant. Granted, Whitepages’s original



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request for production was broader than necessary for that purpose, but Whitepages now limits

its motion to compel to “the same kinds of data from [Lukis’s] MySpace, YouTube, and

Google+ accounts that she produced from her Facebook account.” Id. at 14. So narrowed, the

motion is granted with respect to items (9), (10), and (12).

       The motion is also granted as to item (15), which concerns browser history and other

documentation of Lukis’s visits to the Whitepages website. Document Request 13 sought

records of Lukis’s visits to the website, Doc. 138-1 at 258, and Request 14 sought records of

Lukis’s counsel’s visits, id. at 259. Whitepages argues that the history of Lukis’s interactions

with its website is relevant to its arbitration and class waiver defenses. Doc. 161 at 15-17. As

explained above, Whitepages unduly delayed in raising, and accordingly waived, any arbitration

defense. But the court has not addressed whether Whitepages forfeited an attempt to enforce the

class action waiver. Doc. 90-1 at 14, § 12.10 (“YOU AND WHITEPAGES EACH WAIVE

ALL RIGHTS TO CONDUCT DISPUTE RESOLUTION PROCEEDINGS IN A CLASS

ACTION OR CONSOLIDATED ACTION.”). Whitepages indicates that it will assert the class

action waiver in opposing class certification. Doc. 59 at p. 22, ¶ 23; Doc. 124 at 18-19; Doc. 165

at 16. Whatever the merits of that assertion, it shows that Lukis’s interactions with the

Whitepages website remain relevant, given the broad scope of relevant discovery.

       Opposing discovery on this topic, Lukis argues that her devices—in particular, an old

hard drive—could be difficult to search and may not contain any additional relevant information.

Doc. 138-1 at 259; Doc. 158 at 7-8 & n.4. A party may refuse to produce “electronically stored

information from sources that the party identifies as not reasonably accessible because of undue

burden or cost.” Fed. R. Civ. P. 26(b)(2)(B). But when confronted with a motion to compel, the

party then “must show that the information is not reasonably accessible because of undue burden




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or cost.” Ibid. Lukis’s bare assertion of technical difficulty does not make the required showing.

See Gunn v. Stevens Sec. & Training Servs., Inc., 2018 WL 1737518, at *2 (N.D. Ill. Apr. 11,

2018) (holding that the Rule 26(b)(2)(B) showing was not made because “[a] lawyer’s

unsupported statement in a brief is not evidence”); Trading Techs. Int’l, Inc. v. eSpeed, Inc.,

2005 WL 1300778, at *1 (N.D. Ill. Apr. 28, 2005) (“If the discovery appears relevant, the party

objecting to the discovery request bears the burden of showing why that request is improper.”).

Accordingly, Lukis must supplement her responses to Document Requests 13 and 14.

       Finally, item (18) seeks a privilege log identifying any documents Lukis withheld

claiming privilege and explaining why she redacted large portions of her Facebook production.

Doc. 138 at 14-15. Under Rule 26(b)(5)(A), a party who “withholds information otherwise

discoverable by claiming that the information is privileged … must … describe the nature of the

documents, communications, or tangible things not produced or disclosed.” Fed. R. Civ. P.

26(b)(5)(A)(ii). According to Lukis’s supplemental discovery responses, she withheld only a

single document based on privilege: the Beaumont Costales engagement letter, Doc. 138-1 at

256, which she has now produced, id. at 4, ¶ 18; 363-364. So that portion of the privilege log

request is moot. Granted, Whitepages still seeks an unredacted copy of the engagement letter,

Doc. 138 at 12-13, but a privilege log would not provide any more clarity about the “nature of

the document,” which is mostly unredacted. Fed. R. Civ. P. 26(b)(5)(A)(ii).

       As for the Facebook production, Lukis states that the redacted portions contain purely

private data of no relevance to this lawsuit. Doc. 158 at 9-10. That is not a claim of privilege

governed by Rule 26(b)(5). See Harris Davis Rebar, LLC v. Structural Iron Workers Loc. Union

No. 1, Pension Tr. Fund, 2019 WL 454324, at *4 (N.D. Ill. Feb. 5, 2019) (explaining that a party

must “comply with Rule 26(b)(5) and … produce a privilege log” for “any relevant, responsive




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documents … subject to privilege”). Whitepages disagrees with Lukis’s decision to redact based

on relevance, Doc. 161 at 18, but a privilege log would not address that concern.

VI.    Lukis’s Motion to Extend the Discovery Deadline

       Lukis moves to extend the February 1, 2021 discovery deadline. Doc. 128. A schedule

may be modified “for good cause.” Fed. R. Civ. P. 16(b)(4). “In making a Rule 16(b) good-

cause determination, the primary consideration for district courts is the diligence of the party

seeking amendment.” Alioto v. Town of Lisbon, 651 F.3d 715, 720 (7th Cir. 2011). As discussed

above, Lukis acted with adequate diligence in bringing her motion to compel, and the court has

ordered Whitepages to produce further discovery. The court has also ordered Lukis to produce

certain information to Whitepages. Fact discovery has not previously been extended. The court

finds that there is good cause to amend the schedule and extend the fact discovery deadline to

June 22, 2021.

                                            Conclusion

       Whitepages’s motion to compel arbitration or transfer the suit is denied. Lukis’s motion

to amend the complaint is granted. Lukis shall file her amended complaint as a separate docket

entry. Whitepages’s motion to strike is denied without prejudice to its presenting its arguments

in opposition to Lukis’s pending class certification motion. Lukis’s motion to compel is granted.

Whitepages shall allow its witnesses to testify regarding its non-party data providers, including

their identities and its contractual relationships with them; make Ramon available for a second

deposition regarding those subjects; and produce complete responses to Lukis’s Interrogatories 3

and 4, Document Request 2, and December 28, 2020 supplemental document request.

Whitepages’s motion to compel is granted in part and denied in part. Lukis shall produce the

same kinds of data from her MySpace, YouTube, and Google+ accounts that she produced from

her Facebook account, and also shall supplement her responses to Whitepages’s Document


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Requests 13 and 14. The parties shall make their supplemental productions by May 10, 2021,

and shall schedule the depositions as expeditiously as possible. Lukis’s motion to extend the fact

discovery deadline is granted. The new fact discovery deadline is June 22, 2021.



April 23, 2021                                      ___________________________________
                                                          United States District Judge




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                                                                APPEAL,GILBERT,MIDP,PROTO

                               United States District Court
            Northern District of Illinois - CM/ECF LIVE, Ver 6.3.3 (Chicago)
                    CIVIL DOCKET FOR CASE #: 1:19-cv-04871
                                     Internal Use Only


Lukis v. Whitepages Incorporated                           Date Filed: 07/19/2019
Assigned to: Honorable Gary Feinerman                      Jury Demand: Plaintiff
related Case: 1:19-cv-04892                                Nature of Suit: 380 Personal Property:
Case in other court: Circuit Court of Cook County, 2019-   Other
                    CH-07399                               Jurisdiction: Diversity
Cause: 28:1332 Diversity-Petition for Removal
Plaintiff
Stephanie Lukis                              represented by Roberto Luis Costales
                                                            Beaumont Costales
                                                            107 W. Van Buren
                                                            Suite 209
                                                            Chicago, IL 60605
                                                            773-831-8000
                                                            Email: rlc@beaumontcostales.com
                                                            ATTORNEY TO BE NOTICED

                                                           William Henry Beaumont
                                                           Beaumont Costales LLC
                                                           107 W. Van Buren
                                                           #209
                                                           Chicago, IL 60605
                                                           (773)831-8000
                                                           Email: whb@beaumontcostales.com
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Mantas Norvaisas

Plaintiff
Shawn Brown
individually and on behalf of all other
similarly situated


V.
Defendant
Whitepages Incorporated                      represented by Blaine C Kimrey
                                                            Vedder Price PC



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                                                      222 N. Lasalle
                                                      Suite 2600
                                                      Chicago, IL 60601
                                                      312 609 7500
                                                      Email: bkimrey@vedderprice.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Bryan K. Clark
                                                      Vedder Price
                                                      222 North LaSalle Street
                                                      Chicago, IL 60601
                                                      (312) 609-7810
                                                      Email: bclark@vedderprice.com
                                                      ATTORNEY TO BE NOTICED

                                                      Jonathon Philip Reinisch
                                                      Vedder Price P.C.
                                                      222 North LaSalle Street
                                                      Suite 2600
                                                      Chicago, IL 60601
                                                      (312) 609-7693
                                                      Email: jreinisch@vedderprice.com
                                                      ATTORNEY TO BE NOTICED


V.
Respondent
Instant Checkmate LLC

Movant
Instant Checkmate, LLC

Movant
Anna La Fronza

Movant
Natalia Kupiec                           represented by Benjamin Harris Richman
                                                        Edelson PC
                                                        350 North LaSalle Street
                                                        14th Floor
                                                        Chicago, IL 60654
                                                        (312) 589-6377
                                                        Email: brichman@edelson.com
                                                        ATTORNEY TO BE NOTICED

                                                      Benjamin Scott Thomassen
                                                      Edelson P.C.




file:///c:/temp/7I98AVEU.htm                                                          5/5/2021
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                                                              350 North Lasalle Street
                                                              14th Floor
                                                              Chicago, IL 60654
                                                              (312) 572-7208
                                                              Email: bthomassen@edelson.com
                                                              ATTORNEY TO BE NOTICED


 Date Filed        #      Docket Text
 07/19/2019            1 NOTICE of Removal from Circuit Court of Cook County, case number
                         (2019-CH-07399) filed by Whitepages Incorporated Filing fee $ 400,
                         receipt number 0752-16051704. (Attachments: # 1 Exhibit A)(Kimrey,
                         Blaine) (Entered: 07/19/2019)
 07/19/2019            2 CIVIL Cover Sheet (Kimrey, Blaine) (Entered: 07/19/2019)
 07/19/2019            3 ATTORNEY Appearance for Defendant Whitepages Incorporated by
                         Blaine C Kimrey (Kimrey, Blaine) (Entered: 07/19/2019)
 07/19/2019            4 ATTORNEY Appearance for Defendant Whitepages Incorporated by
                         Jonathon Philip Reinisch (Reinisch, Jonathon) (Entered: 07/19/2019)
 07/22/2019               CASE ASSIGNED to the Honorable Gary Feinerman. Designated as
                          Magistrate Judge the Honorable Jeffrey T. Gilbert. Case assignment:
                          Random assignment. (yt) (Entered: 07/22/2019)
 07/22/2019            5 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Whitepages
                         Incorporated (Kimrey, Blaine) (Entered: 07/22/2019)
 07/22/2019            6 MAILED Notice of Removal letter to counsel of record. (gcy, ) (Entered:
                         07/22/2019)
 07/22/2019            7 NOTICE TO THE PARTIES - The Court is participating in the Mandatory
                         Initial Discovery Pilot (MIDP). The key features and deadlines are set
                         forth in this Notice which includes a link to the (MIDP) Standing Order
                         and a Checklist for use by the parties. In cases subject to the pilot, all
                         parties must respond to the mandatory initial discovery requests set forth in
                         the Standing Order before initiating any further discovery in this case.
                         Please note: The discovery obligations in the Standing Order supersede the
                         disclosures required by Rule 26(a)(1). Any party seeking affirmative relief
                         must serve a copy of the following documents (Notice of Mandatory Initial
                         Discovery and the Standing Order) on each new party when the Complaint,
                         Counterclaim, Crossclaim, or Third-Party Complaint is served. (gcy, )
                         (Entered: 07/22/2019)
 07/23/2019            8 MOTION by Defendant Whitepages Incorporated for extension of time to
                         File a Responsive Pleading (Unopposed) (Kimrey, Blaine) (Entered:
                         07/23/2019)
 07/23/2019            9 NOTICE of Motion by Blaine C Kimrey for presentment of extension of
                         time 8 before Honorable Gary Feinerman on 7/29/2019 at 09:00 AM.
                         (Kimrey, Blaine) (Entered: 07/23/2019)




file:///c:/temp/7I98AVEU.htm                                                                  5/5/2021
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 07/24/2019          10 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        extension of time 8 is granted. The time for Defendant to respond to the
                        complaint is extended to 8/21/2019. Motion hearing set for 7/29/2019 9 is
                        stricken. Status hearing set for 8/28/2019 at 9:00 a.m.Mailed notice. (jlj, )
                        (Entered: 07/24/2019)
 08/05/2019          11 MOTION by Movant Instant Checkmate, LLC to reassign case
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Spears, Natalie) (Entered:
                        08/05/2019)
 08/05/2019          12 NOTICE of Motion by Natalie J. Spears for presentment of motion to
                        reassign case 11 before Honorable Gary Feinerman on 8/8/2019 at 09:00
                        AM. (Spears, Natalie) (Entered: 08/05/2019)
 08/05/2019          13 NOTICE by Instant Checkmate, LLC Notice of Motion to Reassign
                        (Attachments: # 1 Exhibit 1)(Spears, Natalie) (Entered: 08/05/2019)
 08/07/2019          14 MINUTE entry before the Honorable Gary Feinerman: Motion hearing set
                        for 8/8/2019 at 9:00 a.m. 11 is re-set for 9:15 a.m. TIME CHANGE
                        ONLY.Mailed notice. (jlj, ) (Entered: 08/07/2019)
 08/08/2019          15 MINUTE entry before the Honorable Gary Feinerman:Motion hearing
                        held. Instant Checkmate's motion to reassign case 11 is granted. Case 19 C
                        4892, Fischer et al v. Instant Checkmate LLC. (Norgle, J.), will be
                        forwarded to the Executive Committee for reassignment to Judge
                        Feinerman's calendar pursuant to Local Rule 40.4. Mailed notice. (jlj, )
                        (Entered: 08/08/2019)
 08/21/2019          16 MOTION by Defendant Whitepages Incorporated to dismiss for lack of
                        jurisdiction , MOTION TO DISMISS FOR FAILURE TO STATE A
                        CLAIM by Defendant Whitepages Incorporated (Kimrey, Blaine)
                        (Entered: 08/21/2019)
 08/21/2019          17 MEMORANDUM by Whitepages Incorporated in support of motion to
                        dismiss/lack of jurisdiction, Motion to Dismiss for Failure to State a Claim
                        16 (Attachments: # 1 Exhibit A)(Kimrey, Blaine) (Entered: 08/21/2019)
 08/21/2019          18 NOTICE of Motion by Blaine C Kimrey for presentment of motion to
                        dismiss/lack of jurisdiction, Motion to Dismiss for Failure to State a Claim
                        16 before Honorable Gary Feinerman on 8/27/2019 at 09:00 AM. (Kimrey,
                        Blaine) (Entered: 08/21/2019)
 08/21/2019          19 MOTION by Defendant Whitepages Incorporated to stay (Unopposed
                        Motion to Stay Discovery Pending Resolution of Whitepages' Motion to
                        Dismiss) (Attachments: # 1 Exhibit A)(Kimrey, Blaine) (Entered:
                        08/21/2019)
 08/21/2019          20 NOTICE of Motion by Blaine C Kimrey for presentment of motion to stay
                        19 before Honorable Gary Feinerman on 8/27/2019 at 09:00 AM. (Kimrey,
                        Blaine) (Entered: 08/21/2019)
 08/22/2019          21 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 8/28/2019 10 is stricken and re-set for 8/27/2019 at 9:15 a.m.
                        Hearing on motion to dismiss 16 and motion to stay 19 set for 8/27/2019 at



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                         9:00 a.m. is re-set for 9:15 a.m. TIME CHANGE ONLY.Mailed notice.
                         (jlj, ) (Entered: 08/22/2019)
 08/22/2019          22 STATUS Report [Joint] by Whitepages Incorporated (Kimrey, Blaine)
                        (Entered: 08/22/2019)
 08/27/2019          23 MINUTE entry before the Honorable Gary Feinerman:Status hearing held
                        and continued to 10/29/2019 at 9:00 a.m. Motion hearing held. Defendant's
                        motion to dismiss 16 is entered and continued. Plaintiff shall respond by
                        10/2/2019; reply due by 10/23/2019. Defendant's unopposed motion to stay
                        discovery pending resolution of Defendant's motion to dismiss 19 is
                        granted. Discovery is stayed pending resolution of the motion to
                        dismiss.Mailed notice. (jlj, ) (Entered: 08/27/2019)
 10/02/2019          24 MEMORANDUM by Stephanie Lukis in Opposition to motion to
                        dismiss/lack of jurisdiction, Motion to Dismiss for Failure to State a Claim
                        16 (Costales, Roberto) (Entered: 10/02/2019)
 10/23/2019          25 REPLY by Defendant Whitepages Incorporated to motion to dismiss/lack
                        of jurisdiction, Motion to Dismiss for Failure to State a Claim 16
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Kimrey,
                        Blaine) (Entered: 10/23/2019)
 10/29/2019          26 MINUTE entry before the Honorable Gary Feinerman:Status hearing held
                        and continued to 12/17/2019 at 9:00 a.m. Oral argument held on the
                        pending motion to dismiss 16 . The court will rule by mail. Mailed notice.
                        (jlj, ) (Entered: 10/30/2019)
 11/04/2019          27 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 12/17/2019 26 is stricken and re-set for 12/19/2019 at 9:00
                        a.m.Mailed notice. (jlj, ) (Entered: 11/04/2019)
 12/18/2019          28 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 12/19/2019 25 is stricken and re-set for 1/21/2020 at 9:00
                        a.m.Mailed notice. (jlj, ) (Entered: 12/18/2019)
 01/17/2020          29 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 1/21/2020 28 is stricken and re-set for 2/27/2020 at 9:00 a.m.Mailed
                        notice. (jlj, ) (Entered: 01/17/2020)
 02/18/2020          30 MINUTE entry before the Honorable Gary Feinerman:At the parties'
                        request, the status hearing set for 2/27/2020 29 is stricken and re-set for
                        3/5/2020 at 9:00 a.m.Mailed notice. (jlj, ) (Entered: 02/18/2020)
 03/04/2020          31 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 3/5/2020 30 is stricken and re-set for 4/9/2020 at 9:00 a.m.Mailed
                        notice. (jlj, ) (Entered: 03/04/2020)
 03/06/2020          32 MINUTE entry before the Honorable Gary Feinerman:At the parties'
                        request, the status hearing set for 4/9/2020 31 is stricken and re-set for
                        4/28/2020 at 9:00 a.m.Mailed notice. (jlj, ) (Entered: 03/06/2020)
 03/16/2020          33 ORDER Amended General Order 20-0012 IN RE: CORONAVIRUS
                        COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca




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                         R. Pallmeyer on March 16, 2020. All open cases are impacted by this
                         Amended General Order. See attached Order for guidance.Signed by the
                         Honorable Rebecca R. Pallmeyer on 3/16/2020: Mailed notice. (td, )
                         (Entered: 03/18/2020)
 03/30/2020          34 ORDER Seconded Amended General Order 20-0012 IN RE:
                        CORONAVIRUS COVID-19 PUBLIC EMERGENCY Signed by the
                        Chief Judge Rebecca R. Pallmeyer on March 30, 2020. All open cases are
                        impacted by this Second Amended General Order. Amended General
                        Order 20-0012, entered on March 17, 2020, and General Order 20-0014,
                        entered on March 20, 2020, are vacated and superseded by this Second
                        Amended General. See attached Order for guidance.Signed by the
                        Honorable Rebecca R. Pallmeyer on 3/30/2020: Mailed notice. (docket5, )
                        (Entered: 03/31/2020)
 04/15/2020          35 MINUTE entry before the Honorable Gary Feinerman:Pursuant to Second
                        Amended General Order 20-0012, the 4/28/2020 status hearing 32 is
                        stricken and re-set for 5/26/2020 at 9:00 a.m. In the meantime, if any party
                        wishes to present a scheduling or other issue or question to the court, that
                        party should send an email to the Courtroom Deputy
                        (Jackie_Deanes@ilnd.uscourts.gov) and the proposed order email box
                        (Proposed_Order_Feinerman@ilnd.uscourts.gov), with a copy to all other
                        counsel, and the court will respond as soon as practicable. If any party
                        wishes to extend, shorten, or revoke in a particular case the filing
                        extensions granted by Paragraph 2 of Second Amended General Order 20-
                        0012, that party shall file a motion on the case docket and shall indicate in
                        the motion whether the relief sought is agreed or opposed. Parties may file
                        other non-emergency motions on the case docket as they see fit.
                        Emergency relief in any case, or emergency relief from Second Amended
                        General Order 20-0012, shall be sought in the manner set forth in
                        Paragraphs 5-6 of Second Amended General Order 20-0012.Mailed notice.
                        (jlj) (Entered: 04/15/2020)
 04/16/2020          36 MINUTE entry before the Honorable Gary Feinerman: For the reasons set
                        forth in the accompanying Memorandum Opinion and Order, Defendant's
                        motion to dismiss 16 is denied. Notwithstanding Second Amended General
                        Order 20-0012, Defendant shall answer the complaint by 5/14/2020, and
                        the parties shall serve MIDP disclosures by 6/8/2020. The parties shall file
                        a status report with a proposed discovery, class certification motion, and
                        dispositive motion schedule by 6/24/2020. The status hearing set for
                        5/26/2020 35 is stricken and re-set for 6/30/2020 at 9:00 a.m.Mailed
                        notice. (jlj, ) (Entered: 04/16/2020)
 04/16/2020          37 MEMORANDUM Opinion and Order written by the Honorable Gary
                        Feinerman on 4/16/2020.Mailed notice.(jlj, ) (Entered: 04/16/2020)
 04/24/2020          38 ORDER Third Amended General Order 20-0012 IN RE: CORONAVIRUS
                        COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca
                        R. Pallmeyer on April 24, 2020. All open cases are impacted by this Third
                        Amended General Order. Parties are must carefully review all obligations
                        under this Order, including the requirement listed in paragraph number 5 to




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                          file a joint written status report in most civil cases. See attached Order.
                          Signed by the Honorable Rebecca R. Pallmeyer on 4/24/2020: Mailed
                          notice. (docket5, ) (Entered: 04/27/2020)
 04/28/2020          39 MINUTE entry before the Honorable Gary Feinerman: Pursuant to
                        Paragraph 2.c of Third Amended General Order 20-0012, and absent an
                        extension motion that the court grants, the schedule set forth in the
                        4/16/2020 order 36 shall stand.Mailed notice. (jlj, ) (Entered: 04/28/2020)
 05/08/2020          40 MOTION by Defendant Whitepages Incorporated for reconsideration
                        regarding memorandum opinion and order 37 (Kimrey, Blaine) (Entered:
                        05/08/2020)
 05/08/2020          41 MEMORANDUM by Whitepages Incorporated in support of motion for
                        reconsideration 40 (Kimrey, Blaine) (Entered: 05/08/2020)
 05/08/2020          42 NOTICE of Motion by Blaine C Kimrey for presentment of motion for
                        reconsideration 40 before Honorable Gary Feinerman on 6/1/2020 at 09:00
                        AM. (Kimrey, Blaine) (Entered: 05/08/2020)
 05/08/2020          43 MOTION by Defendant Whitepages Incorporated for leave to appeal
                        [Whitepages, Inc.'s Motion to Amend the April 16, 2020 Memorandum and
                        Order to Include Certification Under 28 U.S.C. § 1292(b)] (Kimrey,
                        Blaine) (Entered: 05/08/2020)
 05/08/2020          44 MEMORANDUM by Whitepages Incorporated in support of motion for
                        leave to appeal 43 (Kimrey, Blaine) (Entered: 05/08/2020)
 05/08/2020          45 NOTICE of Motion by Blaine C Kimrey for presentment of motion for
                        leave to appeal 43 before Honorable Gary Feinerman on 6/1/2020 at 09:00
                        AM. (Kimrey, Blaine) (Entered: 05/08/2020)
 05/08/2020          46 MOTION by Defendant Whitepages Incorporated to stay (Kimrey, Blaine)
                        Modified on 5/11/2020 (jlj, ). (Entered: 05/08/2020)
 05/08/2020          47 MEMORANDUM by Whitepages Incorporated in support of motion to
                        stay 46 (Kimrey, Blaine) (Entered: 05/08/2020)
 05/08/2020          48 NOTICE of Motion by Blaine C Kimrey for presentment of motion to stay
                        46 before Honorable Gary Feinerman on 6/1/2020 at 09:00 AM. (Kimrey,
                        Blaine) (Entered: 05/08/2020)
 05/11/2020          49 MINUTE entry before the Honorable Gary Feinerman:Motion to stay 46 is
                        denied in part. The motion to stay is denied as to the deadlines set forth in
                        the 4/16/2020 order 36 . Motion hearing set for 6/1/2020 48 is stricken.
                        Mailed notice. (jlj, ) (Entered: 05/11/2020)
 05/11/2020          50 MINUTE entry before the Honorable Gary Feinerman:Order entered
                        5/11/2020 49 is CORRECTED. Defendant's motion to stay 46 is entered
                        and continued and denied in part.The motion to stay is denied as to the
                        deadlines set forth in the 4/16/2020 order 36 . Motion hearing set for
                        6/1/2020 48 is stricken.Mailed notice. (jlj, ) (Entered: 05/11/2020)
 05/12/2020          51




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                          MINUTE entry before the Honorable Gary Feinerman:Hearing on
                          Defendant's motion to reconsider 40 set for 6/1/2020 42 is stricken and re-
                          set for 6/2/2020 at 9:00 a.m.Mailed notice. (jlj, ) (Entered: 05/12/2020)
 05/14/2020          52 ANSWER to Complaint and Affirmative Defenses by Whitepages
                        Incorporated(Kimrey, Blaine) (Entered: 05/14/2020)
 05/18/2020          53 RESPONSE by Stephanie Lukis to MOTION by Defendant Whitepages
                        Incorporated for leave to appeal [Whitepages, Inc.'s Motion to Amend the
                        April 16, 2020 Memorandum and Order to Include Certification Under 28
                        U.S.C. § 1292(b)] 43 , MOTION by Defendant Whitepages Incorporated
                        for reconsideration regarding memorandum opinion and order 37 40
                        (Costales, Roberto) (Entered: 05/18/2020)
 05/19/2020          54 WHITEPAGES, INC'S NOTICE OF CONSTITUTIONAL CHALLENGE
                        by Whitepages Incorporated (Kimrey, Blaine) (Entered: 05/19/2020)
 05/26/2020          55 ORDER ORDER Fourth Amended General Order 20-0012 IN RE:
                        CORONAVIRUS COVID-19 PUBLIC EMERGENCY Signed by the
                        Chief Judge Rebecca R. Pallmeyer on May 26, 2020. This Order does not
                        extend or modify any deadlines set in civil cases. For non-emergency
                        motions, no motion may be noticed for presentment on a date earlier than
                        July 15, 2020. See attached Order. Signed by the Honorable Rebecca R.
                        Pallmeyer on 5/26/2020: Mailed notice. (docket6, ) (Entered: 05/26/2020)
 05/27/2020          56 MINUTE entry before the Honorable Gary Feinerman: Motion Hearing set
                        for 6/2/2020 at 9:00 a.m. 51 is re-set for 3:00 p.m. TIME CHANGE
                        ONLY.Mailed notice. (jlj, ) (Entered: 05/27/2020)
 05/27/2020          57 MINUTE entry before the Honorable Gary Feinerman:The parties shall
                        call the Toll-Free Number: (877) 336-1828, Access Code: 4082461 for the
                        hearing set for 6/2/2020. Please, please be sure to keep your phone on mute
                        when you are not speaking.Mailed notice. (jlj, ) (Entered: 05/27/2020)
 05/29/2020          58 REPLY by Defendant Whitepages Incorporated to motion for leave to
                        appeal 43 , motion for reconsideration 40 (Kimrey, Blaine) (Entered:
                        05/29/2020)
 06/02/2020          60 MINUTE entry before the Honorable Gary Feinerman:Motion hearing
                        held. Defendant's motions for reconsideration and for leave to appeal 40 43
                        are taken under advisement. Defendant's motion to stay 46 is denied.
                        Defendant shall answer the complaint by 6/11/2020, and the parties shall
                        serve MIDP disclosures by 7/22/2020. The 6/30/2020 status hearing 36 is
                        stricken and re-set for 7/31/2020 at 9:15 a.m. The parties shall file a joint
                        status report with a proposed discovery, class certification motion, and
                        dispositive motion schedule by 7/22/2020. Mailed notice. (jlj, ) (Entered:
                        06/03/2020)
 06/03/2020          59 AMENDED Answer by Whitepages Incorporated to Complaint
                        [Whitepages, Inc.'s Amended Answer and Affirmative Defenses to
                        Plaintiff's Complaint] (Kimrey, Blaine) (Entered: 06/03/2020)
 06/25/2020          61




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                         MOTION by Defendant Whitepages Incorporated for summary judgment
                         (Kimrey, Blaine) (Entered: 06/25/2020)
 06/25/2020          62 RULE 56.1 Statement by Whitepages Incorporated regarding motion for
                        summary judgment 61 (Attachments: # 1 Exhibit 1 [Redacted])(Kimrey,
                        Blaine) (Entered: 06/25/2020)
 06/25/2020          63 SEALED EXHIBIT by Defendant Whitepages Incorporated [Exhibit 1]
                        regarding Rule 56 statement 62 (Kimrey, Blaine) (Entered: 06/25/2020)
 06/25/2020          64 MEMORANDUM by Whitepages Incorporated in support of motion for
                        summary judgment 61 (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                        (Kimrey, Blaine) (Entered: 06/25/2020)
 06/25/2020          65 MOTION by Defendant Whitepages Incorporated to seal [Whitepages,
                        Inc.'s Motion for Leave to File Exhibit Under Seal] (Kimrey, Blaine)
                        (Entered: 06/25/2020)
 06/25/2020          66 NOTICE of Motion by Blaine C Kimrey for presentment of motion to seal
                        65 before Honorable Gary Feinerman on 7/15/2020 at 09:00 AM. (Kimrey,
                        Blaine) (Entered: 06/25/2020)
 06/25/2020          67 NOTICE of Motion by Blaine C Kimrey for presentment of motion for
                        summary judgment 61 before Honorable Gary Feinerman on 7/15/2020 at
                        09:00 AM. (Kimrey, Blaine) (Entered: 06/25/2020)
 06/26/2020          68 MINUTE entry before the Honorable Gary Feinerman: Motion to seal 65 is
                        granted.. Defendant may file under seal the designated materials, so long
                        as it publicly files a redacted version. Motion for summary judgment 61 is
                        entered and continued. Plaintiff shall respond to the motion by 7/23/2020;
                        Defendant shall reply by 8/6/2020. Motion hearings set for 7/15/2020 66
                        and 67 are stricken.Mailed notice. (jlj, ) (Entered: 06/26/2020)
 07/10/2020          69 ORDER Fifth Amended General Order 20-0012 IN RE: CORONAVIRUS
                        COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca
                        R. Pallmeyer on July 10, 2020. This Order does not extend or modify any
                        deadlines set in civil cases. No motions may be noticed for in-person
                        presentment; the presiding judge will notify parties of the need, if any, for
                        a hearing by electronic means or in-court proceeding. See attached Order.
                        Signed by the Honorable Rebecca R. Pallmeyer on 7/10/2020: Mailed
                        notice. (Clerk5, Docket) (Entered: 07/10/2020)
 07/15/2020          70 MOTION by Defendant Whitepages Incorporated to stay [Whitepages,
                        Inc.'s Motion to Stay Mandatory Initial Discovery Pilot Project and Status
                        Report Deadlines Pending Resolution of Whitepages' Motion For
                        Summary Judgment] (Kimrey, Blaine) (Entered: 07/15/2020)
 07/16/2020          71 MINUTE entry before the Honorable Gary Feinerman:Motion to stay 70 is
                        denied. The schedule set forth in the 6/2/2020 order 60 shall stand.Mailed
                        notice. (jlj, ) (Entered: 07/16/2020)
 07/17/2020          72 MINUTE entry before the Honorable Gary Feinerman:Status hearing set
                        for 7/31/2020 at 9:15 a.m. Attorneys/Parties should appear for the hearing
                        by calling the Toll-Free Number: (877) 336-1828, Access Code: 4082461.



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                         Members of the public and media will be able to call in to listen to this
                         hearing (use toll free number). Please, please be sure to keep your phone
                         on mute when you are not speaking. Persons granted remote access to
                         proceedings are reminded of the general prohibition against photographing,
                         recording, and rebroadcasting of court proceedings. Violation of these
                         prohibitions may result in sanctions, including removal of court issued
                         media credentials, restricted entry to future hearings, denial of entry to
                         future hearings, or any other sanctions deemed necessary by the Court.
                         Mailed notice. (jlj, ) (Entered: 07/17/2020)
 07/22/2020          73 STATUS Report , Joint by Stephanie Lukis (Costales, Roberto) (Entered:
                        07/22/2020)
 07/22/2020          74 NOTICE of Service of Responses to Mandatory Initial Discovery (MIDP) ,
                        filed by Defendant Whitepages Incorporated. (Kimrey, Blaine) (Entered:
                        07/22/2020)
 07/23/2020          75 MINUTE entry before the Honorable Gary Feinerman:The fact discovery
                        deadline is 2/1/2021. The deadline for filing motions concerning class
                        certification is 3/1/2021. The expert disclosure/deposition schedule (if any)
                        and the dispositive motion deadline will be set at a later date. If concrete
                        disputes arise regarding the timing or substance of specific written
                        discovery requests or noticed depositions, the parties may bring those
                        disputes to the court's attention in accord with Local Rule 37.2. The status
                        hearing set for 7/31/2020 60 is stricken and re-set for 8/11/2020 at 2:00
                        p.m. Attorneys/Parties should appear for the hearing by calling the Toll-
                        Free Number: (877) 336-1828, Access Code: 4082461. Members of the
                        public and media will be able to call in to listen to this hearing (use toll
                        free number). Please, please be sure to keep your phone on mute when you
                        are not speaking. Persons granted remote access to proceedings are
                        reminded of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court.Mailed notice. (jlj, )
                        (Entered: 07/23/2020)
 07/23/2020          76 RULE 56.1(b)(3) Statement by Stephanie Lukis regarding motion for
                        summary judgment 61 Response to Defendant's Statement of Undisputed
                        Fact (Costales, Roberto) (Entered: 07/23/2020)
 07/23/2020          77 RULE 56.1(b)(3)(C) Statement by Stephanie Lukis regarding motion for
                        summary judgment 61 Plaintiff's Statement of Add'l Fact (Attachments: # 1
                        Exhibit Declaration and Exhibits)(Costales, Roberto) (Entered:
                        07/23/2020)
 07/23/2020          78 MEMORANDUM by Stephanie Lukis in Opposition to motion for
                        summary judgment 61 (Costales, Roberto) (Entered: 07/23/2020)
 08/06/2020          79 REPLY by Defendant Whitepages Incorporated to motion for summary
                        judgment 61 (Kimrey, Blaine) (Entered: 08/06/2020)




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 08/06/2020          80 RESPONSE by Defendant Whitepages Incorporated to Rule 56 statement
                        77 (Kimrey, Blaine) (Entered: 08/06/2020)
 08/11/2020          81 MINUTE entry before the Honorable Gary Feinerman:Status hearing held
                        and continued to 9/25/2020 at 9:00 a.m. Oral argument held on Defendant's
                        summary judgment motion. Attorneys/Parties should appear for the
                        9/25/2020 hearing by calling the Toll-Free Number: (877) 336-1828,
                        Access Code: 4082461. Members of the public and media will be able to
                        call in to listen to this hearing (use toll free number). Please, please be sure
                        to keep your phone on mute when you are not speaking. Persons granted
                        remote access to proceedings are reminded of the general prohibition
                        against photographing, recording, and rebroadcasting of court proceedings.
                        Violation of these prohibitions may result in sanctions, including removal
                        of court issued media credentials, restricted entry to future hearings, denial
                        of entry to future hearings, or any other sanctions deemed necessary by the
                        Court.Mailed notice. (jlj, ) (Entered: 08/12/2020)
 09/22/2020          82 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 9/25/2020 81 is stricken and re-set for 10/6/2020 at 9:00 a.m.
                        Attorneys/Parties should appear for the hearing by calling the Toll-Free
                        Number: (877) 336-1828, Access Code: 4082461. Members of the public
                        and media will be able to call in to listen to this hearing (use toll free
                        number). Please, please be sure to keep your phone on mute when you are
                        not speaking. Persons granted remote access to proceedings are reminded
                        of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court. Mailed notice. (jlj, )
                        (Entered: 09/22/2020)
 10/02/2020          83 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 10/6/2020 82] is stricken and re-set for 11/3/2020 at 9:00 a.m. The
                        parties shall proceed with discovery on the assumption that Defendant's
                        motions 40 43 61 will be denied. By 10/27/2020, the parties shall file a
                        joint status report addressing: (1) the fact discovery they have completed;
                        (2) the fact discovery that remains to be taken; (3) any foreseeable
                        obstacles to meeting the deadlines set forth in the 7/23/2020 order 75 ; (4)
                        whether both sides would like a settlement conference with the Magistrate
                        Judge; and (5) whether there is a need for the 11/3/2020 status hearing.
                        Attorneys/Parties should appear for the hearing by calling the Toll-Free
                        Number: (877) 336-1828, Access Code: 4082461. Members of the public
                        and media will be able to call in to listen to this hearing (use toll free
                        number). Please, please be sure to keep your phone on mute when you are
                        not speaking. Persons granted remote access to proceedings are reminded
                        of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any




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                         other sanctions deemed necessary by the Court. Mailed notice. (jlj, )
                         (Entered: 10/02/2020)
 10/13/2020          84 MOTION by Defendant Whitepages Incorporated for protective order
                        Unopposed Motion for Entry of Agreed Protective Order (Kimrey, Blaine)
                        (Entered: 10/13/2020)
 10/16/2020          85 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        protective order 84 is granted. Enter agreed protective order.Mailed notice.
                        (jlj, ) (Entered: 10/16/2020)
 10/16/2020          86 PROTECTIVE Order Signed by the Honorable Gary Feinerman on
                        10/16/2020.Mailed notice.(jlj, ) (Entered: 10/16/2020)
 10/27/2020          87 MINUTE entry before the Honorable Gary Feinerman:For the reasons set
                        forth in the accompanying Memorandum Opinion and Order, Defendant's
                        motion for reconsideration 40 , Defendant's motion for leave to appeal 43 ,
                        and Defendant's summary judgment motion 61 are denied. Mailed notice.
                        (jlj, ) (Entered: 10/27/2020)
 10/27/2020          88 MEMORANDUM Opinion and Order written by the Honorable Gary
                        Feinerman on 10/27/2020.Mailed notice.(jlj, ) (Entered: 10/27/2020)
 10/27/2020          89 MOTION by Defendant Whitepages Incorporated to dismiss , MOTION
                        by Defendant Whitepages Incorporated to transfer case Based on
                        Arbitrability (Kimrey, Blaine) (Entered: 10/27/2020)
 10/27/2020          90 MEMORANDUM by Whitepages Incorporated in support of motion to
                        dismiss, motion to transfer case 89 (Attachments: # 1 Exhibit A)(Kimrey,
                        Blaine) (Entered: 10/27/2020)
 10/27/2020          91 STATUS Report Joint Status Report by Whitepages Incorporated (Kimrey,
                        Blaine) (Entered: 10/27/2020)
 11/02/2020          92 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 11/3/2020 at 9:00 a.m. 83 is re-set for 9:15 a.m. TIME CHANGE
                        ONLY. Attorneys/Parties should appear for the hearing by calling the Toll-
                        Free Number: (877) 336-1828, Access Code: 4082461. Members of the
                        public and media will be able to call in to listen to this hearing (use toll
                        free number). Please, please be sure to keep your phone on mute when you
                        are not speaking. Persons granted remote access to proceedings are
                        reminded of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court. Mailed notice. (jlj, )
                        (Entered: 11/02/2020)
 11/03/2020          93 MINUTE entry before the Honorable Gary Feinerman:Status hearing held
                        and continued to 12/10/2020 at 9:30 a.m. Defendant's motion to dismiss or
                        transfer based on arbitrability 89 is entered and continued. Plaintiff shall
                        respond to the motion by 11/17/2020; Defendant shall reply by 12/3/2020.
                        Given Defendant's delay in filing its motion, all discovery, including




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                         deposition discovery, shall proceed. Attorneys/Parties should appear for
                         the 12/10/2020 hearing by calling the Toll-Free Number: (877) 336-1828,
                         Access Code: 4082461. Members of the public and media will be able to
                         call in to listen to this hearing (use toll free number). Please, please be sure
                         to keep your phone on mute when you are not speaking. Persons granted
                         remote access to proceedings are reminded of the general prohibition
                         against photographing, recording, and rebroadcasting of court proceedings.
                         Violation of these prohibitions may result in sanctions, including removal
                         of court issued media credentials, restricted entry to future hearings, denial
                         of entry to future hearings, or any other sanctions deemed necessary by the
                         Court. Mailed notice. (jlj, ) (Entered: 11/05/2020)
 11/07/2020          94 MOTION by Plaintiff Stephanie Lukis for extension of time to provide
                        discovery responses (Attachments: # 1 Exhibit)(Costales, Roberto)
                        (Entered: 11/07/2020)
 11/07/2020          95 NOTICE of Motion by Roberto Luis Costales for presentment of extension
                        of time 94 before Honorable Gary Feinerman on 11/12/2020 at 09:00 AM.
                        (Costales, Roberto) (Entered: 11/07/2020)
 11/09/2020          96 RESPONSE by Whitepages Incorporated to MOTION by Plaintiff
                        Stephanie Lukis for extension of time to provide discovery responses 94
                        (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit
                        Exhibit C)(Kimrey, Blaine) (Entered: 11/09/2020)
 11/09/2020          97 MOTION by Plaintiff Stephanie Lukis to amend/correct complaint
                        (Attachments: # 1 Exhibit Proposed Amended Complaint)(Costales,
                        Roberto) (Entered: 11/09/2020)
 11/09/2020          98 NOTICE of Motion by Roberto Luis Costales for presentment of motion to
                        amend/correct 97 before Honorable Gary Feinerman on 11/12/2020 at
                        09:00 AM. (Costales, Roberto) (Entered: 11/09/2020)
 11/10/2020          99 MINUTE entry before the Honorable Gary Feinerman:Motion to
                        amend/correct 97 is entered and continued. Defendant shall respond to the
                        motion by 11/30/2020; Plaintiff shall reply by 12/8/2020. Motion hearing
                        set for 11/12/2020 98 is stricken. Mailed notice. (jlj, ) (Entered:
                        11/10/2020)
 11/10/2020         100 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        extension of time 94 is granted. Given the substantial number of written
                        discovery requests and Defendant's 10/20/2020 communication to Plaintiff,
                        the deadline for Plaintiff to serve her written discovery responses is
                        extended to 12/9/2020. Given the concerns expressed in Defendant's
                        response 96 , the deadline for Defendant to reply in support of its motion to
                        dismiss/compel arbitration 89 is extended to 12/20/2020. As noted in the
                        11/3/2020 order 93 , all discovery, including deposition discovery, shall
                        proceed. Motion hearing set for 11/12/2020 95 is stricken.Mailed notice.
                        (jlj, ) (Entered: 11/10/2020)
 11/11/2020         101 MOTION by Defendant Whitepages Incorporated for extension of time
                        (Whitepages, Inc.'s Unopposed Motion for Extension of Briefing Schedule




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                          on Plaintiff's Motion to Amend the Complaint) (Kimrey, Blaine) (Entered:
                          11/11/2020)
 11/12/2020         102 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        extension of time 101 is granted. The deadline for Defendant to respond to
                        Plaintiff's motion for leave to amend 97 is extended to 12/14/2020;
                        Plaintiff shall reply by 12/29/2020. Mailed notice. (jlj, ) (Entered:
                        11/12/2020)
 11/17/2020         103 MEMORANDUM by Stephanie Lukis in Opposition to motion to dismiss,
                        motion to transfer case 89 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                        Exhibit)(Costales, Roberto) (Entered: 11/17/2020)
 11/17/2020         104 ATTORNEY Appearance for Plaintiff Stephanie Lukis by William Henry
                        Beaumont (Beaumont, William) (Entered: 11/17/2020)
 11/22/2020         105 SEALED DOCUMENT by Plaintiff Stephanie Lukis (Attachments: # 1
                        Exhibit, # 2 Exhibit)(Costales, Roberto) (Entered: 11/22/2020)
 11/22/2020         106 MOTION by Plaintiff Stephanie Lukis to compel and for protective order
                        (Attachments: # 1 Exhibit, # 2 Exhibit)(Costales, Roberto) (Entered:
                        11/22/2020)
 11/22/2020         107 MOTION by Plaintiff Stephanie Lukis to seal (Costales, Roberto)
                        (Entered: 11/22/2020)
 11/23/2020         108 MINUTE entry before the Honorable Gary Feinerman: Motion to seal 107
                        is granted. Plaintiff may file under seal the designated materials. Motion to
                        compel and for protective order 106 is entered and continued. Defendant
                        shall respond to the motion by 12/1/2020; Plaintiff shall reply by 2:00 p.m.
                        on 12/7/2020. Mailed notice. (jlj, ) (Entered: 11/23/2020)
 12/01/2020         109 RESPONSE by Whitepages Incorporatedin Opposition to MOTION by
                        Plaintiff Stephanie Lukis to compel and for protective order 106
                        (Attachments: # 1 Exhibit A: Declaration of Blaine C. Kimrey, # 2 Exhibit
                        1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, #
                        8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11,
                        # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17
                        Exhibit 16, # 18 Exhibit 17)(Kimrey, Blaine) (Entered: 12/01/2020)
 12/01/2020         110 MOTION by Defendant Whitepages Incorporated to seal (Kimrey, Blaine)
                        (Entered: 12/01/2020)
 12/01/2020         111 SEALED RESPONSE by Whitepages Incorporated to MOTION by
                        Plaintiff Stephanie Lukis to compel and for protective order 106
                        (Attachments: # 1 Exhibit 16, # 2 Exhibit 17)(Kimrey, Blaine) (Entered:
                        12/01/2020)
 12/03/2020         112 MINUTE entry before the Honorable Gary Feinerman:Motion to seal 110
                        is granted. Defendant may file under seal the designated materials, so long
                        as it publicly files a redacted version of those materials.Mailed notice.
                        (jlj, ) (Entered: 12/03/2020)
 12/07/2020         113




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                          MINUTE entry before the Honorable Gary Feinerman:The status hearing
                          set for 12/10/2020 at 9:30 a.m. 93 is re-set for 10:15 a.m. TIME CHANGE
                          ONLY. Attorneys/Parties should appear for the 12/10/2020 hearing by
                          calling the Toll-Free Number: (877) 336-1828, Access Code: 4082461.
                          Members of the public and media will be able to call in to listen to this
                          hearing (use toll free number). Please, please be sure to keep your phone
                          on mute when you are not speaking. Persons granted remote access to
                          proceedings are reminded of the general prohibition against photographing,
                          recording, and rebroadcasting of court proceedings. Violation of these
                          prohibitions may result in sanctions, including removal of court issued
                          media credentials, restricted entry to future hearings, denial of entry to
                          future hearings, or any other sanctions deemed necessary by the
                          Court.Mailed notice. (jlj, ) (Entered: 12/07/2020)
 12/07/2020         114 REPLY by Stephanie Lukis to sealed response 111 , response in opposition
                        to motion,, 109 (Costales, Roberto) (Entered: 12/07/2020)
 12/10/2020         115 MINUTE entry before the Honorable Gary Feinerman:Status hearing held
                        and continued to 1/19/2021 at 9:15 a.m. By 1/13/2021, the parties shall file
                        a status report addressing: (1) the discovery they have completed; (2) the
                        discovery that remains to be taken; (3) any foreseeable obstacles to
                        meeting the deadlines set forth in the 7/23/2020 order 75 ; (4) whether both
                        sides would like a settlement conference with the Magistrate Judge; and (5)
                        whether there is a need for the 1/19/2021 status hearing. For the reasons
                        stated on the record, Plaintiff's motion to compel and for protective order
                        106 is denied in part without prejudice (as to the motion to compel) and
                        granted in part (as to the protective order). Defendant may not depose
                        Plaintiff's counsel at this point, but it may seek leave at a later point under
                        the circumstances described by the court. Attorneys/Parties should appear
                        for the 1/19/2021 hearing by calling the Toll-Free Number: (877) 336-
                        1828, Access Code: 4082461. Members of the public and media will be
                        able to call in to listen to this hearing (use toll free number). Please, please
                        be sure to keep your phone on mute when you are not speaking. Persons
                        granted remote access to proceedings are reminded of the general
                        prohibition against photographing, recording, and rebroadcasting of court
                        proceedings. Violation of these prohibitions may result in sanctions,
                        including removal of court issued media credentials, restricted entry to
                        future hearings, denial of entry to future hearings, or any other sanctions
                        deemed necessary by the Court.Mailed notice. (jlj, ) (Entered: 12/10/2020)
 12/13/2020         116 MINUTE entry before the Honorable Gary Feinerman:By agreement, the
                        deadline for Defendant to reply in support of its motion to compel
                        arbitration 89 is extended to 1/20/2021. By agreement, the deadline for
                        Defendant to respond to Plaintiff's motion for leave to amend 97 is
                        extended to 1/13/2021; Plaintiff shall reply by 1/27/2021. The status
                        hearing set for 1/19/2021 115 is stricken and re-set for 2/4/2021 at 9:15
                        a.m. The status report required by the 12/10/2020 order 115 need not be
                        filed until 1/28/2021. Attorneys/Parties should appear for the 2/4/2021
                        hearing by calling the Toll-Free Number: (877) 336-1828, Access Code:
                        4082461. Members of the public and media will be able to call in to listen




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                          to this hearing (use toll free number). Please, please be sure to keep your
                          phone on mute when you are not speaking. Persons granted remote access
                          to proceedings are reminded of the general prohibition against
                          photographing, recording, and rebroadcasting of court proceedings.
                          Violation of these prohibitions may result in sanctions, including removal
                          of court issued media credentials, restricted entry to future hearings, denial
                          of entry to future hearings, or any other sanctions deemed necessary by the
                          Court. Mailed notice. (jlj, ) (Entered: 12/13/2020)
 01/07/2021         117 MOTION by Defendant Whitepages Incorporated for extension of time
                        [Parties' Motion For Extension Of Briefing Schedules On Whitepages'
                        Arbitrability Motion And Plaintiff's Motion To Amend The Complaint]
                        (Kimrey, Blaine) (Entered: 01/07/2021)
 01/08/2021         118 MINUTE entry before the Honorable Gary Feinerman:By agreement, the
                        deadline for Defendant to reply in support of its motion to compel
                        arbitration 89 is extended to 1/29/2021. By agreement, the deadline for
                        Defendant to respond to Plaintiff's motion for leave to amend 97 is
                        extended to 1/22/2021; Plaintiff shall reply by 2/5/2021. The status hearing
                        set for 2/4/2021 116 is stricken and re-set for 2/18/2021 at 9:15 a.m. The
                        status report required by the 12/10/2020 order 115 need not be filed until
                        2/11/2021. Attorneys/Parties should appear for the hearing by calling the
                        Toll-Free Number: (877) 336-1828, Access Code: 4082461. Members of
                        the public and media will be able to call in to listen to this hearing (use toll
                        free number). Please, please be sure to keep your phone on mute when you
                        are not speaking. Persons granted remote access to proceedings are
                        reminded of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court.Mailed notice. (jlj, )
                        (Entered: 01/08/2021)
 01/22/2021         119 MOTION by Defendant Whitepages Incorporated to strike Class
                        Allegations and Counsel (Kimrey, Blaine) (Entered: 01/22/2021)
 01/22/2021         120 MOTION by Defendant Whitepages Incorporated to seal [Motion for
                        Leave to File Under Seal and Redact] (Kimrey, Blaine) (Entered:
                        01/22/2021)
 01/22/2021         121 MEMORANDUM in support of its Motion to Strike Class Allegations and
                        Counsel by Defendant Whitepages Incorporated (Whitepages, Inc.'s
                        Memorandum in Support of its Motion to Strike Class Allegations and
                        Counsel) (Attachments: # 1 Exhibit A, # 2 Exhibit C, # 3 Exhibit D)
                        (Kimrey, Blaine) Modified on 2/23/2021 (bg, ). (Entered: 01/22/2021)
 01/22/2021         122 MEMORANDUM by Whitepages Incorporated in support of motion to
                        strike 119 (Redacted) (Attachments: # 1 Exhibit A [Filed Under Seal], # 2
                        Exhibit B, # 3 Exhibit C [Filed Under Seal], # 4 Exhibit D [Filed Under
                        Seal])(Kimrey, Blaine) (Entered: 01/22/2021)
 01/22/2021         123




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                          MOTION by Defendant Whitepages Incorporated to seal [Motion for
                          Leave to File Under Seal and Redact] (Kimrey, Blaine) (Entered:
                          01/22/2021)
 01/22/2021         124 OPPOSITION to plaintiff's motion to amend the complaint by Defendant
                        Whitepages Incorporated (Whitepages, Inc.'s Opposition to Plaintiff's
                        Motion to Amend the Complaint 97 ) (Attachments: # 1 Exhibit H, # 2
                        Exhibit I)(Kimrey, Blaine) Modified on 2/23/2021 (bg, ). (Entered:
                        01/22/2021)
 01/22/2021         125 RESPONSE by Whitepages Incorporatedin Opposition to MOTION by
                        Plaintiff Stephanie Lukis to amend/correct complaint 97 (Redacted)
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                        5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H [Filed Under Seal],
                        # 9 Exhibit I [Filed Under Seal])(Kimrey, Blaine) (Entered: 01/22/2021)
 01/25/2021         126 MINUTE entry before the Honorable Gary Feinerman: Motions to seal 120
                        and 123 are granted. Defendant may file under seal the designated
                        materials, so long as it publicly files a redacted version of those materials.
                        Motion to strike 119 is entered and continued. Plaintiff shall respond to the
                        motion by 2/19/2021; Defendant shall reply by 3/5/2021. Motion hearing
                        set for 3/9/2021 at 9:30 a.m. Attorneys/Parties should appear for the
                        hearing by calling the Toll-Free Number: (877) 336-1828, Access Code:
                        4082461. Members of the public and media will be able to call in to listen
                        to this hearing (use toll free number). Please, please be sure to keep your
                        phone on mute when you are not speaking. Persons granted remote access
                        to proceedings are reminded of the general prohibition against
                        photographing, recording, and rebroadcasting of court proceedings.
                        Violation of these prohibitions may result in sanctions, including removal
                        of court issued media credentials, restricted entry to future hearings, denial
                        of entry to future hearings, or any other sanctions deemed necessary by the
                        Court. Mailed notice. (jlj, ) (Entered: 01/25/2021)
 01/28/2021         127 MOTION by Plaintiff Stephanie Lukis to compel (Attachments: # 1
                        Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Costales, Roberto) (Entered:
                        01/28/2021)
 01/28/2021         128 MOTION by Plaintiff Stephanie Lukis for extension of time to complete
                        discovery (Costales, Roberto) (Entered: 01/28/2021)
 01/29/2021         129 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        extension of time 117 is denied as moot. See 1/8/2021 order 118 . Motion
                        to compel 127 and motion for extension of time to complete discovery 128
                        are entered and continued. Defendant shall respond to the motions by
                        2/9/2021; Plaintiff shall reply by 2/16/2021.Mailed notice. (jlj, ) (Entered:
                        01/29/2021)
 01/29/2021         130 MOTION by Defendant Whitepages Incorporated to seal (Kimrey, Blaine)
                        (Entered: 01/29/2021)
 01/29/2021         131 REPLY by Defendant Whitepages Incorporated (Attachments: # 1 Exhibit
                        A, # 2 Exhibit B, # 3 Exhibit C)(Kimrey, Blaine) (Entered: 01/29/2021)




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 01/29/2021         132 REPLY by Whitepages Incorporated to reply 131 (Attachments: # 1
                        Exhibit C)(Kimrey, Blaine) Modified on 2/23/2021 (bg, ). (Entered:
                        01/29/2021)
 02/01/2021         133 MINUTE entry before the Honorable Gary Feinerman:Motion to seal 130
                        is granted. Defendant may file under seal its reply brief, so long as it
                        publicly files a redacted version of its brief.Mailed notice. (jlj, ) (Entered:
                        02/01/2021)
 02/01/2021         134 ATTORNEY Appearance for Defendant Whitepages Incorporated by
                        Bryan K. Clark (Clark, Bryan) (Entered: 02/01/2021)
 02/02/2021         135 MOTION by Defendant Whitepages Incorporated For Leave to Unseal and
                        File Unredacted Versions of Certain Filings on the Public Docket (Kimrey,
                        Blaine) (Entered: 02/02/2021)
 02/03/2021         136 MOTION by Defendant Whitepages Incorporated to compel (Kimrey,
                        Blaine) (Entered: 02/03/2021)
 02/03/2021         137 MOTION by Defendant Whitepages Incorporated for leave to file Under
                        Seal and Redact (Kimrey, Blaine) (Entered: 02/03/2021)
 02/03/2021         138 MEMORANDUM in support of motion to compel by Defendant
                        Whitepages Incorporated (Attachments: # 1 Exhibit 1)(Kimrey, Blaine)
                        Modified on 3/3/2021 (bg, ). (Entered: 02/03/2021)
 02/03/2021         139 MEMORANDUM by Whitepages Incorporated in support of motion to
                        compel 136 (Redacted) (Attachments: # 1 Exhibit 1)(Kimrey, Blaine)
                        (Entered: 02/03/2021)
 02/05/2021         140 MINUTE entry before the Honorable Gary Feinerman:If Plaintiff opposes
                        Defendant's motion to unseal 135 , she shall file her opposition by
                        2/12/2021. Motion for leave to file 137 is granted. Defendant may file
                        under seal the designated materials, so long as it publicly files a redacted
                        version of those materials. Motion to compel 136 is entered and continued.
                        Plaintiff shall respond to the motion by 2/17/2021; Defendant shall reply
                        by 2/24/2021. Hearing on motion to compel 136 set for 3/9/2021 at 9:30
                        a.m. Attorneys/Parties should appear for the hearing by calling the Toll-
                        Free Number: (877) 336-1828, Access Code: 4082461. Members of the
                        public and media will be able to call in to listen to this hearing (use toll
                        free number). Please, please be sure to keep your phone on mute when you
                        are not speaking. Persons granted remote access to proceedings are
                        reminded of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court. Mailed notice. (jlj, )
                        (Entered: 02/05/2021)
 02/05/2021         141 REPLY by Stephanie Lukis to response in opposition to motion, 125
                        (Costales, Roberto) (Entered: 02/05/2021)
 02/09/2021         142




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                          MOTION by Defendant Whitepages Incorporated for leave to file Under
                          Seal and Redact (Kimrey, Blaine) (Entered: 02/09/2021)
 02/09/2021         143 MEMORANDUM in opposition to plaintiff's motion to extend discovery
                        by Whitepages, Inc. (Kimrey, Blaine) Modified on 3/3/2021 (bg, ).
                        (Entered: 02/09/2021)
 02/09/2021         144 MEMORANDUM by Whitepages Incorporated in Opposition to motion
                        for extension of time to complete discovery 128 (Redacted) (Kimrey,
                        Blaine) (Entered: 02/09/2021)
 02/09/2021         145 DECLARATION of Blaine C. Kimrey (Kimrey, Blaine) (Entered:
                        02/09/2021)
 02/09/2021         146 DECLARATION of Nadine Thisselle (Kimrey, Blaine) (Entered:
                        02/09/2021)
 02/09/2021         147 OPPOSITION to plaintiff's motion to compel by Whitepages, Inc.
                        (Kimrey, Blaine) Modified on 3/3/2021 (bg, ). (Entered: 02/09/2021)
 02/09/2021         148 RESPONSE by Whitepages Incorporatedin Opposition to MOTION by
                        Plaintiff Stephanie Lukis to compel 127 (Redacted) (Attachments: # 1
                        Exhibit A)(Kimrey, Blaine) (Entered: 02/09/2021)
 02/10/2021         149 MOTION by Defendant Whitepages Incorporated for sanctions (Kimrey,
                        Blaine) (Entered: 02/10/2021)
 02/10/2021         150 MOTION by Defendant Whitepages Incorporated for leave to file Under
                        Seal and Redact (Kimrey, Blaine) (Entered: 02/10/2021)
 02/10/2021         151 MEMORANDUM in support of motion for sanctions by Defendant
                        Whitepages Incorporated (Attachments: # 1 Exhibit A, # 2 Exhibit C, # 3
                        Exhibit D)(Kimrey, Blaine) Modified on 3/3/2021 (bg, ). (Entered:
                        02/10/2021)
 02/10/2021         152 MEMORANDUM by Whitepages Incorporated in support of motion for
                        sanctions 149 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                        4 Exhibit D)(Kimrey, Blaine) (Entered: 02/10/2021)
 02/10/2021         153 MINUTE entry before the Honorable Gary Feinerman:Motions for leave to
                        file 142 and 150 are granted. Defendant may file under seal the designated
                        materials, so long as it publicly files a redacted version of those
                        materials.Mailed notice. (jlj, ) (Entered: 02/10/2021)
 02/11/2021         154 STATUS Report Joint Status Report by Whitepages Incorporated (Kimrey,
                        Blaine) (Entered: 02/11/2021)
 02/16/2021         155 MINUTE entry before the Honorable Gary Feinerman:Motion for
                        sanctions 149 is denied without prejudice to renewal once the other
                        pending motions are resolved.Mailed notice. (jlj, ) (Entered: 02/16/2021)
 02/16/2021         156 REPLY by Plaintiff Stephanie Lukis to memorandum in opposition to
                        motion 144 (Costales, Roberto) (Entered: 02/16/2021)
 02/16/2021         157




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                          REPLY by Plaintiff Stephanie Lukis to response in opposition to motion
                          148 (Costales, Roberto) (Entered: 02/16/2021)
 02/17/2021         158 RESPONSE by Stephanie Lukisin Opposition to MOTION by Defendant
                        Whitepages Incorporated to compel 136 (Costales, Roberto) (Entered:
                        02/17/2021)
 02/18/2021         160 MINUTE entry before the Honorable Gary Feinerman:Status hearing held.
                        Motion set for 3/9/2021 at 10:15 a.m. The 3/9/2021 motion hearings 126
                        140 are reset to 10:15 a.m. TIME CHANGE ONLY. Defendant's motion
                        for leave to unseal and file unredacted versions of certain filings on the
                        docket 135 is granted. The Clerk shall unseal Dkts. 121, 121-1, 121-2,
                        121-3, 124, 124-1, 124-2 and 132. Defendant's oral motion to unseal Dkt
                        138 (exhibits A&B), 143, 147, and 151 (exhibits A, C, D) is taken under
                        advisement. Plaintiff shall file any opposition by 2/26/2021.
                        Attorneys/Parties should appear for the 3/9/2021 hearing by calling the
                        Toll-Free Number: (877) 336-1828, Access Code: 4082461. Members of
                        the public and media will be able to call in to listen to this hearing (use toll
                        free number). Please, please be sure to keep your phone on mute when you
                        are not speaking. Persons granted remote access to proceedings are
                        reminded of the general prohibition against photographing, recording, and
                        rebroadcasting of court proceedings. Violation of these prohibitions may
                        result in sanctions, including removal of court issued media credentials,
                        restricted entry to future hearings, denial of entry to future hearings, or any
                        other sanctions deemed necessary by the Court.Mailed notice. (jlj, )
                        (Entered: 02/22/2021)
 02/19/2021         159 RESPONSE by Stephanie Lukisin Opposition to MOTION by Defendant
                        Whitepages Incorporated to strike Class Allegations and Counsel 119
                        (Costales, Roberto) (Entered: 02/19/2021)
 02/24/2021         161 REPLY by Defendant Whitepages Incorporated to motion to compel 136
                        (Kimrey, Blaine) (Entered: 02/24/2021)
 03/01/2021         162 MOTION by Plaintiff Stephanie Lukis to certify class (Attachments: # 1
                        Exhibit Details Page, # 2 Exhibit Search Results Page, # 3 Exhibit
                        Summary Page, # 4 Exhibit Ramon Deposition, # 5 Exhibit Thisselle
                        Deposition Excerpts, # 6 Exhibit Mehrkens Deposition Excerpt, # 7
                        Exhibit Lukis Declaration, # 8 Exhibit Costales Declaration)(Costales,
                        Roberto) (Entered: 03/01/2021)
 03/02/2021         163 MINUTE entry before the Honorable Gary Feinerman:Hearing on motion
                        to certify class 162 set for 3/9/2021 at 10:15 a.m. Attorneys/Parties should
                        appear for the hearing by calling the Toll-Free Number: (877) 336-1828,
                        Access Code: 4082461. Members of the public and media will be able to
                        call in to listen to this hearing (use toll free number). Please, please be sure
                        to keep your phone on mute when you are not speaking. Persons granted
                        remote access to proceedings are reminded of the general prohibition
                        against photographing, recording, and rebroadcasting of court proceedings.
                        Violation of these prohibitions may result in sanctions, including removal
                        of court issued media credentials, restricted entry to future hearings, denial




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                          of entry to future hearings, or any other sanctions deemed necessary by the
                          Court. Mailed notice. (jlj, ) (Entered: 03/02/2021)
 03/02/2021         164 MINUTE entry before the Honorable Gary Feinerman:Given Plaintiff's
                        non-opposition, Defendant's oral motion 160 to unseal Dkts. 138 (Exhibits
                        A and B), 143, 147, and 151 (Exhibits A, C, D) is granted. The Clerk is
                        directed to unseal those materials. Mailed notice. (jlj, ) (Entered:
                        03/02/2021)
 03/05/2021         165 REPLY by Defendant Whitepages Incorporated to motion to strike 119
                        (Kimrey, Blaine) (Entered: 03/05/2021)
 03/09/2021         166 MINUTE entry before the Honorable Gary Feinerman:Motion hearing
                        held. All pending motions are taken under advisement. Status hearing set
                        for 5/7/2021 at 9:15 a.m. Attorneys/Parties should appear for the 5/7/2021
                        hearing by calling the Toll-Free Number: (877) 336-1828, Access Code:
                        4082461. Members of the public and media will be able to call in to listen
                        to this hearing (use toll free number). Please, please be sure to keep your
                        phone on mute when you are not speaking. Persons granted remote access
                        to proceedings are reminded of the general prohibition against
                        photographing, recording, and rebroadcasting of court proceedings.
                        Violation of these prohibitions may result in sanctions, including removal
                        of court issued media credentials, restricted entry to future hearings, denial
                        of entry to future hearings, or any other sanctions deemed necessary by the
                        Court. Mailed notice. (jlj, ) (Entered: 03/09/2021)
 04/01/2021         167 MOTION by Movants Anna La Fronza, Natalia Kupiec to reassign case
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                        5 Exhibit E, # 6 Exhibit F)(Richman, Benjamin) (Entered: 04/01/2021)
 04/01/2021         168 MOTION by Movants Natalia Kupiec, Anna La Fronza for leave to file
                        excess pages motion and memorandum in support of their motion to
                        reassign and consolidate cases (Richman, Benjamin) (Entered:
                        04/01/2021)
 04/01/2021         169 Errata by Natalia Kupiec for Motion and Memorandum in Support of
                        Motion to Reassign and Consolidate Cases and Motion for Excess Pages
                        (Richman, Benjamin) (Entered: 04/01/2021)
 04/02/2021         170 ATTORNEY Appearance for Movant Natalia Kupiec by Benjamin Harris
                        Richman (Richman, Benjamin) (Entered: 04/02/2021)
 04/02/2021         171 Notice of Objection and Request for Briefing Schedule on Anna La
                        Fronza's and Natalia Kupiec's Motion to Reassign and Consolidate by
                        Instant Checkmate LLC (Berman, Debbie) (Entered: 04/02/2021)
 04/02/2021         172 ATTORNEY Appearance for Movant Natalia Kupiec by Benjamin Scott
                        Thomassen (Thomassen, Benjamin) (Entered: 04/02/2021)
 04/02/2021         173 MINUTE entry before the Honorable Gary Feinerman: Motion for leave to
                        file excess pages 168 is granted. Motion to reassign case 167 is denied in
                        part and denied as moot in part. The motion is denied as moot as to Kupiec
                        v. PeopleConnect, Inc., 21 C 969 (N.D. Ill.), which is already assigned to




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                          District Judge Feinerman's calendar. The motion otherwise is denied. The
                          present case has different plaintiffs and different defendants, and is much
                          further along, than the other assertedly related cases. That fact that cases
                          involve the overlapping legal issues and similar facts is not sufficient, by
                          itself, for a Local Rule 40.4 reassignment. Mailed notice. (jlj, ) Modified
                          on 4/2/2021 (jlj, ). (Entered: 04/02/2021)
 04/23/2021         174 MINUTE entry before the Honorable Gary Feinerman:For the reasons set
                        forth in the accompanying Memorandum Opinion and Order, Defendant's
                        motion to dismiss or transfer 89 is denied; Plaintiff's motion to amend the
                        complaint 97 is granted; Defendant's motion to strike 119 is denied;
                        Plaintiff's motion to compel 127 is granted; Defendant's motion to compel
                        136 is granted in part and denied in part; and Plaintiff's motion to extend
                        the fact discovery deadline 128 is granted. Plaintiff shall file her amended
                        complaint as a separate docket entry. Defendant shall allow its witnesses to
                        testify regarding its non-party data providers, including their identities and
                        its contractual relationships with them; make Witness Ramon available for
                        a second deposition regarding those subjects; and produce complete
                        responses to Plaintiff's Interrogatories 3 and 4, Document Request 2, and
                        December 28, 2020 supplemental document request. Plaintiff shall produce
                        the same kinds of data from her MySpace, YouTube, and Google+
                        accounts that she produced from her Facebook account, and also shall
                        supplement her responses to Defendant's Document Requests 13 and 14.
                        The parties shall make their supplemental productions by 5/10/2021, and
                        shall schedule the depositions as expeditiously as possible. The new fact
                        discovery deadline is 6/22/2021. Mailed notice. (jlj, ) (Entered:
                        04/23/2021)
 04/23/2021         175 MEMORANDUM Opinion and Order written by the Honorable Gary
                        Feinerman on 4/23/2021.Mailed notice.(jlj, ) (Entered: 04/23/2021)
 04/26/2021         176 AMENDED Complaint (Beaumont, William) (Entered: 04/26/2021)
 04/26/2021         177 MINUTE entry before the Honorable Gary Feinerman:By 4/30/2021,
                        Plaintiff shall file a status report indicating whether she will proceed with
                        her present class certification motion 162 or file an amended class
                        certification motion with new or additional putative class representatives.
                        Mailed notice. (jlj, ) (Entered: 04/26/2021)
 04/30/2021         178 STATUS Report by Shawn Brown, Stephanie Lukis, Mantas Norvaisas
                        (Costales, Roberto) (Entered: 04/30/2021)
 05/03/2021         179 MINUTE entry before the Honorable Gary Feinerman:The status hearing
                        set for 5/7/2021 166 is stricken and re-set for 5/21/2021 at 9:00 a.m. By
                        5/14/2021, the parties shall file a joint status report addressing: (1) the
                        discovery they have completed thus far; (2) the discovery that remains to
                        be taken; (3) whether there are any foreseeable obstacles to meeting the
                        6/22/2021 fact discovery deadline 174 ; (4) whether they would like a
                        settlement conference with the Magistrate Judge; and (5) whether there is a
                        need for the 5/21/2021 status hearing. Attorneys/Parties should appear for
                        the 5/21/2021 hearing by calling the Toll-Free Number: (877) 336-1828,
                        Access Code: 4082461. Members of the public and media will be able to



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                         call in to listen to this hearing (use toll free number). Please, please be sure
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                         Violation of these prohibitions may result in sanctions, including removal
                         of court issued media credentials, restricted entry to future hearings, denial
                         of entry to future hearings, or any other sanctions deemed necessary by the
                         Court. Mailed notice. (jlj, ) (Entered: 05/03/2021)
 05/03/2021         180 MINUTE entry before the Honorable Gary Feinerman:At Plaintiffs'
                        request 178 , Plaintiff Lukis's motion for class certification 162 is
                        withdrawn. Plaintiffs shall file a new class certification motion by
                        7/6/2021.Mailed notice. (jlj, ) (Entered: 05/03/2021)
 05/04/2021         181 NOTICE of appeal by Whitepages Incorporated regarding orders 175
                        Filing fee $ 505, receipt number 0752-18209603. Receipt number: n
                        (Kimrey, Blaine) (Entered: 05/04/2021)
 05/04/2021         182 MOTION by Defendant Whitepages Incorporated to dismiss for lack of
                        jurisdiction (Kimrey, Blaine) (Entered: 05/04/2021)
 05/04/2021         183 MEMORANDUM by Whitepages Incorporated in support of motion to
                        dismiss/lack of jurisdiction 182 (Attachments: # 1 Exhibit A)(Kimrey,
                        Blaine) (Entered: 05/04/2021)
 05/04/2021         184 MOTION by Defendant Whitepages Incorporated to stay (Kimrey, Blaine)
                        (Entered: 05/04/2021)
 05/04/2021         185 MEMORANDUM by Whitepages Incorporated in support of motion to
                        stay 184 (Kimrey, Blaine) (Entered: 05/04/2021)
 05/05/2021         186 NOTICE of Appeal Due letter sent to counsel of record regarding notice of
                        appeal 181 . (gcy, ) (Entered: 05/05/2021)




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